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                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:
                                                           CHAPTER 11
ATLANTA LIGHT BULBS, INC.,
                                                           CASE NO. 22-52950-pmb
      Debtor.
_____________________________________

TANDEM BANK,
                                                           CONTESTED MATTER
         Movant,
v.

ATLANTA LIGHT BULBS, INC.

         Respondent.

DECLARATION OF MICHAEL KELLER IN SUPPORT OF TANDEM BANK’S (A) MOTION TO
  DISMISS BANKRUPTCY CASE (DOC. NO. 23), (B) MOTION FOR RELIEF FROM THE
 AUTOMATIC STAY (DOC. NO. 33), AND (C) MOTION REQUESTING ENTRY OF ORDER
            PROHIBITING USE OF CASH COLLATERAL (DOC. NO. 35)

         I, Michael Keller, declare under penalty of perjury as follows:

                                            Background

         1.     My name is Michael Keller. I am over 18 years of age and competent to give this

declaration.

         2.     I am the Executive Vice President and Chief Credit Officer for Tandem Bank. I

am qualified to give this Declaration and do so based upon my own personal, first-hand

knowledge of the subject matter discussed herein. In the regular course of my duties and

responsibilities, I oversee and manage certain loan files for Tandem Bank, including the file and

debt instruments of Atlanta Light Bulbs, Inc. (“Debtor”) at issue in this bankruptcy. I am

personally familiar with the contents of the subject loan file and regularly review and monitor the

file as part of my work for Tandem Bank.

         3.     I make and give this Declaration in support of Tandem Bank’s (A) Motion To

Dismiss Bankruptcy Case (Doc. No. 23), (B) Motion for Relief from the Automatic Stay (Doc. No.
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33), and (C) Motion Requesting Entry of Order Prohibiting Use of Cash Collateral (Doc. No. 35)

(collectively, the “Tandem Motions”) in this action and for all other purposes permitted by law.

                                            The Loan

       4.      On September 2, 2020, Debtor executed and delivered to Tandem Bank that

certain Promissory Note (“Note”) evidencing a revolving line of credit in the maximum principal

amount of $600,000.00.

       5.      A true and correct copy of the Note is attached hereto as Exhibit A.

       6.      Also on September 2, 2020, Debtor executed and delivered to Tandem Bank a

Business Loan Agreement (“Loan Agreement”). A true and correct copy of the Loan Agreement

is attached hereto as Exhibit B.

       7.      In connection with the Note, on September 2, 2020, Jessica Mendoza

(“Mendoza”) executed and delivered to Tandem Bank a Commercial Guaranty (“Mendoza

Guaranty”). A true and correct copy of the Mendoza Guaranty is attached hereto as Exhibit C.

       8.      On September 2, 2020, Debtor executed and delivered to Tandem Bank that

certain Commercial Security Agreement (“Security Agreement”), whereby Debtor granted

Tandem Bank a security interest in Debtor’s property, as more particularly described in the

Complaint. A true and correct copy of the Security Agreement is attached hereto as Exhibit D.

       9.      On September 14, 2020, a UCC was filed in the UCC records of the Clerk of

Superior Court of Dekalb County, Georgia, as File No. 044-2020-004114 (“UCC”), evidencing

Lender’s lien on and security interest in the Collateral, as more particularly described in such

UCC. A true and correct copy of the UCC is attached hereto as Exhibit E.

       10.     The Note, the Loan Agreement, the Mendoza Guaranty, the Security Agreement,

the UCC, and any and all other documents or instruments relating to the same are hereinafter

referred to as the “Loan Documents”.




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                                       The Loan Defaults

        11.    On July 9, 2021, Tandem Bank issued a demand letter (“Demand Letter”)

notifying Debtor of its default under the terms of Loan Documents for failure to provide certain

financial statements, including accounts receivable aging, borrowing base certificates, annual

statements, interim statements and tax returns (collectively, “Financial Documents”) as required

under the Loan Documents and that the Debtor had 10 days to cure such default. A true and

correct copy of the Demand Letter is attached hereto as Exhibit F.

        12.    On July 30, 2021, Tandem Bank issued an acceleration letter (“Acceleration

Letter”) wherein Debtor was advised that, due to Debtor’s default under the Loan Documents

and the failure to cure such default within ten days of receipt of the Demand Letter, the entirety

of the indebtedness under the Loan Documents was accelerated and due immediately. A true

and correct copy of the Acceleration Letter is attached hereto as Exhibit G.

        13.    Debtor defaulted under the terms of the Loan Documents for failure to provide

the requested Financial Documents. Debtor did not cure the default within ten days.

        14.    Debtor remains in default.

        15.    Pursuant to the Acceleration Letter, Debtor was notified of Tandem Bank’s intent

to enforce the attorney’s fees provision of the Loan Documents under O.C.G.A. § 13-1-11. Ten

days passed after Debtor’s receipt of said notice and the amount due under the Loan

Documents remained outstanding, and such occurred prior to the bankruptcy petition in this

case.

        16.    The debt owed under the Note and the Loan Documents was accelerated pre-

petition and was then due and payable.

        17.    On August 19, 2021, Tandem Bank and Debtor entered into a Letter Agreement

regarding the Loan Documents. In the Letter Agreement, Debtor acknowledged its execution

and delivery of the Loan Documents, the acceleration of the loan, and that the full balance of the




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indebtedness, including all costs, fees, attorneys fees and interest, remains due in full and

outstanding. A true and correct copy of the Letter Agreement is attached hereto as Exhibit H.

       18.     Regardless of the acceleration, the Note and Loan Documents matured by their

own terms on September 2, 2021.

       19.     Debtor has failed to pay the amounts due under the Loan documents despite

Tandem Bank’s requests.

       20.     Tandem Bank has continually requested Financial Documents from Debtor

including as recently as the month of May, 2022. Debtor has failed and refused to provide the

required Financial Documents.

       21.     As of June 10, 2022, the amount due under the Loan Documents is $652,354.75,

consisting of: (i) principal in the amount of $600,000.00; (ii) late charges in the amount of

$30,116.25, and (iii) accrued interest in the amount of $22,238.50. Interest continues to accrue

on the Note debt at a rate of $75.00 per diem, subject to Tandem Bank’s rights to default

interest. This amount does not include attorney’s fees. A true and correct copy of the loan payoff

statement is attached hereto as Exhibit I.

       22.     Tandem Bank’s counsel is in receipt of the proceeds of a garnishment from

Renasant Bank in the amount of $1,288.78, which reduces the outstanding interest due on the

indebtedness to $20,949.72.

       23.     Tandem Bank is entitled to attorney’s fees pursuant to O.C.G.A. § 13-1-11 under

the Note, which allows Tandem Bank to recover attorney’s fees in the amount of 15% of all

principal and interest due.

       24.     Debtor defaulted under the Loan Documents for reasons including failure to

provide the requested Financial Documents.

       25.     Tandem Bank spent more than a month negotiating a forbearance agreement

with Debtor. Despite Tandem Bank’s efforts, Debtor refused to enter a forbearance agreement.




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                        Exhibit “A”
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 tSl Tandem Bank
                                                           PROMISSORY NOTE
                                                                  Loan No
                                                                        0967


Borrower:      Atlanta Ughlllulbs. Inc.                                         Lender:          T111dem Bani<
               2109 Mountain lnclustrilll l!j\ld                                                 p.-_eomon.
               Tucker, GA 30084                                                                  107 Technology Parkway
                                                                                                 Suite 413
                                                                                                 Puchtnto Como111, GA 30092


 Principal Amount: $600 ,000.00                                                                               Dete cA Note: September 2 , 2020
 PROMISE TO PAY. Atlanta UghiiiUibo, In~ ("8omlwel") promlMs to pay lo T111dem Bank ("l.endet"). «order, In lawful money of the Unltod
 Sa.tn of Amorica, the princ:lpal amount of Six Hundrod Thousand & 00/100 OoUats ($800,000.00) "'so mudl as may.,. outalandlng,together
 with lnterut on tho Ll\plld oulslandlng ptlndpol ~ of each advance. lniMul -           .,. caltulaled f""" tho dato of ...h advantt until
 nopoyment of uch odvantt.
 PAYMENT.     eon-c.- will pay this ' - ' In ono payment of Ill outatandl ng principal plus all atcrvtd unpaid lntorest on Sej)tember 2, 2021 . In
 addition, Bonower will pay regular monthly paymonte of all eccrued unpaid Interest due as of uch payment date, ~inning October 2, 2020,
 with oil oubeequent Interest payments to .,. due on tho same day of ucb month after th.t. Unless olherwioo agreed « required by app4icable
 law, payment~ will .,. appllod flratto ony atcrvtd unpaid Interest; then to principal; ond t.hon to any late charges.
 VARIABLE INTEREST RATE. The Interest rate on IIIII N01e is subject to change from time to time based on changes In an Independent lndak
 which is tile WAI.l. STREET JOURNAl. PRIME RATE AS QUOTED DAILY (tho "Index"). The Index Is not necessarily the lowest rate chatged by
 Lender on II$ loans. Lendet will tell Botrowar the C\J!1'8nt Index rate upon Borrowefa request. The Interest rate change will not occur more
 ol\en than each DAY. Botrowor understends that Lender may make loans based on other rates os well. Tho Index cumtntly 11 3.250% por
 annum. Interest on the unpaid principal belanoo of this Note will be calculated as described In tho ,NTEREST CALCUlATION METliOO"
 paragraph usirQ a rate of 0.500 peiC8nlage points avec the Index (tho "Margin"), adjusted If nt<ltssary for any minimum and maximum rele
 rtm~aUona daacribed below, resYhing In an lniUel rate o f slmp!e Interest of 4.500%. II Lender detennlnes, In II$ tole discretion. that tho Index
 has become unovallable or unratlable, either lemporarily. lndefinilely. or pe.manantly, during tile torm of this Note. Lender may amend this Nola
 by deslgnating a subatantlelly similar substitute Index. Lender may also amend end adjust the Morgln to accompany the subelllutt Index. The
 ch&nge to the Margin may be a positive « negalille value, « zero. In meldng lhese amend,..,.,., Lender may take Into consldetatlon any
 ~ marital conveotion lor se4acting a substitute Index and margin for the lj)eciflc Index that Is unavailable « urYellable. Such an
 amendment to the tellll$ or this Note will beoome effective and bind 8orrowe< 10 business days alter l.ender gives wrilten nolloe to Borrower
 without eny action or.,.,._,. of tho Bortowe<. NOTICE: Under no eirCtJmstances will the Interest rate on this Note be less than 4.500% per
 annum or mora than (except lor any higher default rate shown below) lhe Iasser of 18 .000% per annum "' the maxlmum rate alowed by
 applicable law.
 INTEREST CAl.CUl.ATION M ETHOO. Interest on thlt Note is oompuled on 1 365/360 basis; thetll, by applying the ratio of tho lnte'"l rate
 ovor • Yl"' of 360 daya, trolltlpllod by the -..ding princlpol belanco, multiplied by the actual number of deya the principal .,.lance It
 outatandi ng. All inte'"t payable under lhla Nolo Is computed ualng tlllt method.
  RECEIPT OF PAYMENTS. All~                 mut11   b e , _ tn U.S. dollln and must be receiVed by Lender et:
        Tandem Bank
        2356 Meln Street
        1\lcker, GA 30084
  All   ~       IT'AISI. be I'IIOIIIIIect by Lender consistent with any w ritten payment inslructions provided by Lender.
  PREPAYMENT. Bormwer may pey without penalty all .,. • portion of the amount owed ear1iar tllan it Is due. Eeo1y payments w ill not, unless
  agreed to by Lender In wrillng, relieve Botrower of Borrowefs obOgatlon to conUnue to make paymenta of accrued unpaid Interest. RalhGr. early
  payments w ill redYce the principal belance due. 8orTowor 8IJM$ not to ..-1 l.ender paymentS mari<ed "paid in lulr, "without recourse·. «


  Of-
  similar langua08. 11 8orrowe< aends aucn s peyment, Lender mey accept it without losing any of Lendefs rights under this Note. and Botrowor
  will remain obligated to pay any further amount owed to Lender. All wr1tton       conwn<.w>.._.
                                                                                              concemlng ditputed tmounll, tnc:ludlng any checlt
            paymontlnatn.mont thetlndlcatM that tho paymont conotltutes "paymont l n tun• of the amount owed« that Is tendered with other
  conditions"' limitations"' n full "lisfactlon of a dlsputod amount muot be mailed« dotlvered to: Tandem Bank. 2356 Main Strwt Tucker,
  GA 30084.
  LATE CHARGE. II a poymonl Is 10 deys"' m«e tate, Borrower will be dlarged 5.000% of the .....,aid partion ollhe NIJArtv ect.Uod
  ~ or$25.00, -                    Is ~. ~ ol-.y 1*1111 pl!yiTIII'1ta l.aldor Ia ~
  IHTB£ST AFnR DEFAULT. Upon default. including failure to pay upon final maturity, tho lnt&rest rate on lhls Nota sha8 be tnaeased IO
  18.000%. Howewr, ln no event w ill the Interest rate exoaad the maklmum Interest rala limhadons under applicable law.
  DEFAULT. Each of the fOllowing shiiU constitute W>8\lel1t of default ('e--.t of Defa\AI") t.nder this Ncca:
        P.yment Default Botrowor falls to ma~e any peyment when due under lhls Note.
        Ott>tt OefaultL Borrower fais to comply with .,. to perfom1 any othor term, obligation. covenant or oondlllon contained In this Note or in
        any of the related documents or to oomply with or to parf«m any term, obligation. oovenant «condition oontainod In any other agreement
        between Lender and Borrowe<.
        Default tn Fav« of Third Portloo. Borrower or any Gtantor defaulta under any loan. extentlon of credit S8C\Jt1ly agreemenl. purchase "'
        sales agree..-L .,. ony other~ In r..- of any Olhef aedlt« « parson that may materially affect any of Borrowefs property or
        Borrowefs abHity to repay this Note or perform Borrowefe obllgallons under this Nota« any of the related doC\JrntniS.
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Loan N o :               0967                                     (Continued)                                                            Page 2

    False Suottmento. AAy warranty. ,.presontatlon or sta1emer4 ll*le 01 fumOshed 1o Lander by 80trowef or on Sorrowet's behalf under this
    Note or the related documenUI Is false or misleading In any material respect, either now or al the time made or furnished or become$ false
    or misleading at any time thereafter.
    Insolvency. The dossolullon or tennlnatlon of Borrowe(s existence as a going business. the ineolvency of Borrower, the appointment of a
    rece.._..r for any part of Borrowe(s property. any assignment for the benefit or creditor., any type or cre011or W011<out. or the
    ~of any proceeding under anY bankruptcy or Insolvency laws by or against Borrower.
    Creditor or Forfeiture Proceedings. Co!M1encement of foredosure or forfeiture prooaedings. whether by judicial proceeding.• self-help,
    repossession or any other method, by any aed~or of Borrowar 01 by any govemmental agency against any collateral securing tho loan.
    This fndudee a garnishment of any of Borrower's acc:ounts, Including deposit accounts. w ith Lender. However. this E_,. of Def80.111 shall



    -or
    not apply If there Is a good faith dispute by Borrower as to the valid~ or reasonall4eMSs of the claim which Is the basis of the creditor or
    forfeiWre proceeding and If Borrow&<~~ Lender written notice of the creditor or forfeiture proceeding and depoelts with Lander monies or
    a surety bond for the creditor 0< forfenure proceeding, in en amount delalminad by Lender. In
               bond for the dispute.
                                                                                                       nseo1e dlsaellon. as being an adequate

    Evenlll Alfoct.l ng Guarantor. AAY of the prececfong events occurs with respect to any Gta...- of any of the Indebtedness or any
    ~ dies 01 becomes Incompetent, or r1Mlkes or disputes the valldhy of. or tlobB~ under, any guaranty of the lndebtednoss
    evklencad by this Note.
    Chango In Ownership. Any c:Noge In ownership of twenty-riVe percent (25%) or more of the common stock of Borrowor.
    Adverse Change. A material adverse cl'erge        ooo..n In   8o1Towet's IW'oana8l condition, 01 Lllndar belielle8 the proeped of paymert 01
    pcwfomw>ce of lhls Note Is ifT1:laired.
    Insecurity. Lender In good faith batloves lllell Insecure.
    Cure Provisions. If any de!au~. othor then a default In payment. Is curoble end If Borrower has not been given a notice of a breach of the
    eame provielon of this Nole within the preceding twalva (12) months, It may be cured If BoJTOwer, after Lender sends wrtuen notice to
    Borrowetdelnardng cure of such default: (1) cures the default within ten (10) days; or (2) If the cure requires more than ten (10) doys,
    Immediately lniUates steps which Lender deems In Lender'a eole dl&ctetlon to be sufficient to cure the defau11 and ~after continues and
    completes 1111 reasonable and nec:essaty steps sullicient to ptOduce a>mpliance as .aon as reasonably practical.
LENDER'S RIGHTS. Upon default, lender may declare the enUre unpaid principal belaoao l.l1der this Note and all accrued unpaid lntareat
Immediately due, and then BoJTOwer w ill pay thai amount
ATTORNEYS' Fa:S; EXPENSES. Lender may hire or pay someone else to help collect this Note if BoJTOwer does not pay. Borrower wUI pay
Lender that amount This Includes. subject to any Omits under applicable law. Lende(a coats of colectlon, lnctudlng court coats and fineen
percent (15%) of the principal plus accmed Interest as atlomeys' fees. If any sums owing under this Note are collacted by or thiOtlgh an
attorney at law, whether or not there Is a lawsuit, and leg8f 8)ljlen!leS tor banla'uptcy ~ ('mduding efforts to modify or vacate any
automatic stay or Injunction), and ~ If not prohibited by applicable lew, Borrower alao will pey any oourt costs. fn addition to .u other
sume provided by law .
JURY WAIVER. lAndor- aorn.-~             .., ~  the right to any jury truol ln any action, proceeding, or counwn:lalm brougM by eilhl< l..endor
or Borrower against the othor. (Initial He,. .,              )
GOVERNING LAW. This Nm will be                       t.derallaw opplic.blo to lender and, to the exton! not preempted by t.derollaw, the Iowa of
tho State of Georgia without ragard to ill conflicts of law provlalons. This Nco has been accepted by LAnder In tho SUI!e of Georgia.
CHOICE Of VENUE. tf there Is a lewsu~.     Borrowar 81J00S upon Loode(s request to submit to the jurlsdlctlon of the oourts of Gwinnett County,
State of Georgia.
DISHONORED ITEM FEE. Borrower will pay a fee to Lender of $27.00 or five percent (5%) oltha face amount of the check, whichever Is
greater. If Borrower makes a payment on Borrower'a 1oao and the check or preaulhorized charge with which 8oiTOwer pays Is tater dishonored.
RIGHT Of SETOfF. To the extent permitted by applicable law . Lender reserves a right or "etoff in all Bon'Owofo eooouru with Lender (whotner
chedclng. aavlnge, or _,.,., other ecx;ount). lhls tnd<M:leS all accounlS llom:lwar holds jointly with """""""' -  and Ill accounts 80trowef rrvtY
cpen In the future. " - · this " ' - not include any IRA or Keogh BC<;OUnts, or any trust accounts for which setoff would be prohibited by
law. Borrower authof1zes Lender, to the extent permitted by appllcablo law. to chetge or satoff all tiUm$ owing on the ~ against any
and all such accounts. and. at Lender's option, to administra!Nely freeze  an  such accounts to allow Lender to protect Lender's charge end setoff
rigiU PfO"ided In this perag!8pll.
COllATERAL      Borrower eclcnowladges this Note is sacured by the following colaterat desat>ed In the security Instrument listed herein:
     (A) a Commercl81 Security Agreement dated September 2, 2020 made and executed between Atlanta llgllt Bulbi, Inc. and lander on
     collateral desa1bed as:
          All INVENTORY. CHATTEL PAPER. ACCOUNTS, EQUIPIIIENT, GENERAL INTANGIBLES AND FtXTURES: WHETHER NoN OF THE
          FOREGOING IS OWNEO NOW OR ACQUIRED LATER; All ACCESSIONS, ADDffiONS, REPLACEMENTS. AND SUBSTITUTIONS
          RELAllNG TO ANY OF THE FOREGOING: All RECORDS OF ANY KINO RELATING TO ANY OF THE FOREGOING: ALL PROCEEOS
          RELATING TO ANY OF THE FOREGOING (INCLUDING INSURANCE. GENERAL INTANGIBLES AND OTHER ACCOUNT PROCEEDS).
 UNE Of CREDIT. Thls Note evidences a revctving line of c redit. Advances under this NOla. as well as dlractfons for payment from Borrower's
 accounts, may be requested cwaly O< In writing by 80<rower or by an ~ed person. Lander may, out need not, require thalli! 01111 requests
 be confumed in writing. 8oiTOwer agrees to be &able for all sums either: (A) edvanoed In accordance with the ~nstrucUons of "!' eutho<1zed
 person or (B) credited to any of Borrowe~a accounts with Lender. The l.llptid p<lndpal belanoe owing on this Nota at any lime may be
 evidenced by ~on this Nota or by Lender's lntemal records, Including daily computer print-outs.
 SUCCESSOR INTERESTS. The terms of this Nole shaU be binding upon Borrower. and upon BOJTOWer'a heirs, perwonal representatiVes,
 successors and assigns. and sllal Inure to the benefit of Lander and Its successors and assigns.
 NOTIFY US Of INACCURATE INFORMATION WE RfPORT TO CONSUMER REPORllNG AGENCIES. Borrower may notify Lender If .Lender
 rBl>OftS any Inaccurate infonnallon about Borrowe(s aocount(s) to a consumer reponing agency. Borrowe(s written noUco describing the
 specific lnaccurecy(los) should be sent to Lendar at the following address; Tandem Bank 2356 Main Street Tucker, GA 30084.
 ERROR AND OMISSIONS AGREEMENT. The undersigned Borrower for and In consideretion of the abo\le·referenced Lender funding the dosing
 of this lOan agrees. If requested by Lender or Closing Agent for Lender. to fully coopa<ate and adjust for cterlcal error$, any or all loan closing
 documontatioo If deemed necessary or desirea4e In the reasonable discretion of Lender.
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                                                             PROMISSORY NOTE
Loan No:                   0967                                     (Continued)                                                                   Page 3



GENERA~ PROVISIONS. If any pall of this Note awvlOt be enforoed. thl$ fad wfll not affect the rest or the Note. Lerder mty delay or fcwgo
enforcing any of Its rights or remedies l.nder this Note IMthoul losing them. ~ and any Olher person who signs, guarantees or endorses
this Nota, to the extent allowed by law, waive presentme<lt, c1etronc1 for payment. and notice or c:lshonor. ~any c::ha'9> in the terme of this
Note, and lM'Iess OlherMse expressly ~ In W11Ung, no party who alg'ls this Nota, whether 116 mokar, guanmtor, 8CCOrf11'10datl rreker or
~. shan be released 1rom liability. All such parties waive any right to reqW8 1.enc1et to toke adlon against any other party who signs this
Note • prollkled In O.C.GA Section 10-7-24 and ague that Lerder mty renew or extend (~edfy end for any length of ijme) this loen or
releese any patty or guarantor or oollatarol; or lrrpalr, fall to realize upon or pertact l.sncler's sea.w1ty Interest In the oollatenll: and toke any other
action cleemod r _ . y by 1.enc1et without the oonsent or or notice to anyone. All such partios also agree that LAnier mty modify this loen
IMthoul the ~ of or notioe to onyone Olher then the party wfth whom the modification is rrecle. The ollligalions ..-der this Nota we joint
and several.
THIS NOTE IS GIVEN UNDER SEAL AHD IT IS INTENDED THAT THIS NOTE IS AND SHALL CONSTITUTE AND HAVE THE EFfECT OF A
SEALED INSTRUMENT ACCORDING TO ~W.

BORROWER:




                                        ~    ...........   ~,.__.~,__,       .......... ..__   · ·~""-*M"
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                        Exhibit “B”
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 61 Tandem Bank
                                                 BUSINESS LOAN AGREEMENT




Borrower:      Atlanta Ught Bulbs, Inc.                                      Lender:         Tandem Bank
               21 09   Mountain lndua1rial B1W                                               Peachtree Comera
               Tucker, GA 30084                                                              107 Tedlnology PA11<way
                                                                                             Sullo 413
                                                                                             Peachtree Comera, GA 30092.


 THIS BUSINESS LOAN AGREEMENT dated September 2, 2020, io made and oueuled botwe.n Atlanta Ught Buh, Inc. rBorrowor") ond
 T...O.m Bank rLondef') on the following torma and conditions. Bonower has ,_lved prior commerclalloana from lender 0< hal applied to
 Lender for 1 commercial loan or loans or othor financial ec:commodaUons, lndudlf1Q lhooe whlc:h may be desc:ttbed on any O>lhlblt or sdledule
 altllched to this Ag<MmenL 8onoww unders- and -                     that: (A) In granting, ronewfng, 0< extending any Loan, Lender Ia rety!ng upon
 Bo<Towefa reproeentatlons, waiTIIfllloa, and agreements as oat forth In this Agreement; (B) the granting, renewing, or extending of any Loan
 by LorlCier at Ill IImas ahlll be subject to lendor'a sole judgmont and discretion; and (C) all such Loans lhall bo end remain subject to the torma
 and conditions of this AgroemenL
 TERM. This Agreement shall be effecUve as of September 2, 2020, and s11a1 ~e In lull Ioree end offoct unUI such lime liS afl of
 Borrowefa loens in fo-     of lender have been paid In l ull, including principal, Interest, costs. expenses, attorneys' lees, end other leG$ end
 Charges, or until such Ume as the pattiea may agree In wriUng to terminate this Agreement
 UNE OF CREDIT. The lndebtedneu Includes a nsvoMng line of credit.
 CONDITIONS PRECalEHT TO EACH ADVANCE. l.endO(s oblgation to make the in!Ual Attv8ll01f and each $Ubsequont Advance under this
 1\gnsemenl shal be subject to the fulfillment to landO(a satisfaction of all of tha conditions sat forth In this Agreement and In the Related
 Documenla.
      Loan Oowments. Borrower lhal provide to Lender lhe following documenls for lhe Loan: (1) 1he Note; (2) Security Agreements
      granllng to Lender security Interests In the Ccllataral: (3) financing statements end a1 -      doc:umenla perfecting LendO(a Security
      lntorMts; (4) e...tdenoo of lnso.ranoe as required below; ( 5) guerantles; (6) together w~h ell such Relaled Documenls as l.ooder may
      requins for the Loe11: all In form end substance saUsfaclory to Lender and Lendefs counsel.
      Botrowel'a Authorization. 8ofTower shal have provided in form end substance sausractory 10 Lander properly cerllned nsaolullons, duly
      outhori%ing the execution and delivery of this Agreement, the Noce and 1he Related Documenta. In llddilion. Borrower shall h<MI !)IO'iided
      SUCh o1her nssolutlons, II<Jthortz.atioos, cloc:uments end Instruments as Lender 0< its counsel, may require.
      Payment of Foes and Expensn. Borrower shall have paid to Lender all lees, d'larges, and Other expenses which ans then due and peyat>le
      as specified In this AQ<Mmenl 0< any Related Document
      Repnuntatlons and Worrontl... The ropresentatlons and warranties set forth in this Agreement            In the Related Docum&nts, and In ony
      document or cerU!Icate delvated lo Lender un<klr thio AgrHment are true and correct
      No Evant of Default. There sh•U not exl•t at the lime of ony Advance a condlllon which would conSlitute an E--.a of Default under this
      Agreement ()( under any Related Document
  REPRESENTATIONS AND WARRANTIES. Borrower repraeonla end warrants to \.ender, as of the dale of this Agreement, aa of the dale of-'!
  disbursement of loan proc:MC~s, as of the date of any renewal, eldeosoon or modlllc:alion of any Loan, and at all limes any Indebtedness exlslo:
      Organization. Borrowor Is a corpO<&tlon for profit whlc:h Is, and at all times a11a1 be, duly organized, validly exltting, and in good standing
      under end by virtue of the laws of 1he State of G«xgia. Borrower Is duly authoriz.ed to transact business In all o ther states In which
      Borrower Is doing business, having obtained all necessary filings, govem"*'lal licenses and approvals for each state In whlc:h Bom>ww Is
      doing buslness. Specifically. Borrower Is. and at a1 times shal be, duty qualified as a loreion oorporation In all slates In which the failure to
      so qualjfy would have e materiel adverse effect on Its business or financial condition. Borrower has the full power and eulhorlty to own its
      properties end to lfansact tile business In whlc:h It is presently engaged 0< presently proposaa to ~· Borrower melnla1ns an office at
      2109 Mountain lnduslllal BM:!, Tucker, GA 30084. Ulless Borrower has designated otherwfso in writing. the principal office Is the office
      at which Borrower keeps ils bookS and records including Its records concerning the Collateral. Borrower w ill noUiy Lender ptlor to any
      change in the location of Bon'owefs slate of organlulion 0< any change In Borrowefs name. Borrower lhal do .all things necessary to
      preserve and to keep In full force and effect lla existence, rights and prtvlloges, and shaD comply with all regulations, nules. O<dlne~,
      s talutea. orders end decrees of any governmental 0< q~tal authority 0t court appllalll4e to Bom:>wer and Borrowefa business
      acthiiUes.
       Assumed    eusu- Homes.         Borrower h8s filed or recorded all docume<1ts or filings requinsd by law rel&bng to 81 -        ~­
       ......s by Bom:>wer.   ElcdUdlr1g the ,.,..,.. of Bonower, tna following is a oomplete list of atl assumed buSiness n&mes under whtch Borrower
       does business: None.
       Aulhottzatlon. Borrowefs execullon, delivery, end performance of this Agreement and all lhe Relalad DocumeniS have been duly
       authOrtZad by all neoaasary action by Borrower and do not conftict wllh. result In a violation or, or conautute a default under .(1) tllf'/
       p1011t.1on of (a) Bo<Towefs artldes of Incorporation or orgarizallon, 0< bylaws, or (b) any egr_....rn 0< other Instrument bindong upon
       Borrower or (2) any law. governmental regulation, court decree, 0< order apPIIcaDie to Borrower or to Bofrower's properties.
       F'tnanclal Information. Each of Borrower's fonancial sl>!temei"CS supplied to Lander truly and oompletely clsclas«< Borrowet's financial
       conditloo as of the dale of 1he stotement, and 1hera has been no material adllenle change In ~(s fl~ condition ~ ~
       the date of the most nsoont finandaJ statement SUilPied to Lettde<. Borrower has no rreteri8l ocninge<1l ollligetions """"'l' as c1sc1as«1 tn
       such   financial-...-.
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   Lagal EHoct. This AQr_.,.n, conaututes. and eny instrumenl 0< agteemeot Borrower is required to give l.fldef !his Agreemen! wh41n
   clelivwed will consUMe legal. vafod, and binding obtigaUom ol Borrower enforceable against Borrower In &COO<dance wllh !heir rospecilve
   !arms.
   Propenla. Elcoept eo contemplated by IIIia ~ 0< as p<tWiously disclosed in Borrowefs financial slalemenls or in w riting lo Landor
   end es acx:epled by Lender, and except lor property la.x liens lor !axes no1 presenuy due and payable, Borrower owns and has good UUe 10
   all ol Borrower'a properties free and dear or all 5eaJrity lnteresl&. and has not execuled any securtly doc:umenls 0< linandng slatemanta
   relating 10 s.JCh propet!les. All or Borrowe(a prope<1les ""' tided In Borrowafs legal name, end Borrower has not used "' nted a financing
   stalement l.fldef any other name lor at least the teat five (5) years.
   Haurdous Subatanc... Except as dJsdosed to and ad<nowledged by . . _ in writing, Borrower repn1sents end warrants that ( t ) During
   lila p«1od ol Borrower's ownership or lila Collateral, !here h a s - no use. generation, manufacture. s1orage, treatment, disposal, release
   or threatened release of any Hazardous Substance by any paroon on, under, about or from any or the COllateral. (2) Borrower has no
   knowledge of, or reason 10 believe that tJ>ere has -        (a) any breach 0< violation ol eny EtMtonnw1lal Laws; (b) any use, generation,
   manufDdUre, atotege, lreatment. disposal, relea8e or lhnsatened release of any Hazardous Substance on, under. aboul or from !he
   COllateral by any prior owners or oca.panls of any or !he COllateral; or (c) any actual or lhreotened litigation or claims of any kind by any
   parson relating 10 such matters. (3) Neither Borrower nor any tenant. contractor, agent 0< oilier eutho<Wod user of any of !he       Cola!.,...
   lhal use, generate. manufacture. store. treat. dispose or or release any HaZardous Suba!anoe on. under, about or from any or the
   COllateral: and any euch ac!lvity shan be conducted In compliance with all applicable federal, state, end local laws. regulations, end
   ordJnancas, InclUding wllllout limlte!lon all Environmental Laws. Borrower authOr1Zes Lender and its egenlS 10 enter upon !he Collateral to
   make such lnlj>ections and I8Sis as Lender may deem app<oprial8 10 determine compliance or the COllateral with IIIla section of lho
   AQ<eemant. Any Inspections or tests made by Lender shell be at Borrowafs expense and for Lende(s purpoaee only and shel not be
    construed to creata eny responsibility or liability on the part of lander to Borrower or to any -         person. The r8!'(8seotations end
   warranties oonlalned helein are besed on Borrower's due diligence In Investigating the COllateral for hazardous wasle end Htllafdous
   Subslances. Borrower hereby (1) releases and waives any future claims against Lender lor indemnity or conll1bution In the even!
   Borrower becomes Wallie for cleanup 0< otllar costs under eny such laws, and (2)      awees   to Indemnify, defend, end hold hatrrjeu lender
    against any end all claims. losses, Rabllities, damages, penalties, and expenses which Lender may directly or indlrec~y sustain or suller
   reslllting from a breach or this secilon of the Agreemenl or as a consequence or any uso. generation. manufacture, etorage, dlspoeal.
   recease or lhreetened release of a hazardous waste or eubstanco on the COIJalenll The provisions of lilts section of !he AQreaman~
    including !he oblgation to indemnify and defend, shaft surv1ve tne payment of the Indebtedness and the termination, expiration or
    satisfaction of !his Agreement and shall not be affected by Lende(e acqulslllon of any Interest In any or the CoMateral, whether by
   foreclosure or otherwise.
   Litigation and Clalma. No litigation, dalm, invastijjatlon, admlnlsttaUve proceeding or similar ac!lon (Including those for unpaid taxes)
   against Borrower Is pending or threatened, and no olhor even! has occurred which may metariaUy adversely affect Borrowafo ftnanclal
   condition or propertleo, oilier !han Mllgation, claims, or oilier events, If any, !hat haVe - dlsclooad 10 end acknOWledged by Lender In
   Writing.
   Taxeo. To !118 best of Borrowafs knowtedge. all of Bo<rowefs tax returna and reports thal are 0< were reqWac1 to ba filed, have beeo
   ~led. and all !aXes, assessments and other~ charges have -                  paid In full. except !hOle presanlly being or to be contested by
   Borrower In good faith In !he ordinary course or business ond lor which edequale reserves have beef"l provided.
    Lien Priority.   Unleos olherwlsa previously dlsdosed 10 lender in writing, Borrower hn not entered lniO or granted any Secunty
    Agreements, or permitted !he fiRng or attachment of any Security lnlorests on or alfecllng any or !he Collaleral directly "' Indirectly
    sacurtng repaymenl of Borrower's Loan and Note, !hat would be prior or that may in any way be supertor to Lendefs Security Interests end
    rights In and 10 such Cola!eral.
    Binding Efftct. This Agreement. the Nota, all Security Agreemenla (II any), and all Related Documents are binding upon 11>e &Ogners
    thereof, as well "" upon !heir SUc;c:es$()($, represe<Uilves end assigns, and ere legally ..,OICI!<IIl4e In 8CCCifdance with !heir respac:tlve
    terms.
AFFIRMATIVE COVENANTS. Borrower covonants and 8!190S with Lender that,           so long as this Agreement remelno in el!ect, Borrower wil:
    N - of ct.- -          utlpllon. Promp<>y Inform ~In writing or (1) all mat&MI adverse changes in Borrower's financial condl!lon.
    and (2) all e>dsting and all lhreatened litigation, claims. Investigations, administrative proceedings or similar actions affecilng Borrower 0<
    any Guarantor which could materially affect the financial condition of Borrower or 11>e fonancial conc:tllion of any Guaranlor.
    Financial Racords. Maintain Its books and recorda In acoordanoe with GAN', applied on       a consistent basls, and parmn Lender 10 examine
    and audn Borrower's books end records at all reasonable times.
    F1nandal St.atements. Ft.mlsh Lander w ith the following.
         Annual Statements. All soon as available, but In no event toter than one-hundred·twenty (120) days after the end of each fiscal year,
         Borrower's balonoe sheet and lnoome statement lor !he    v- ~. ootrClited by a certified public acoourur>t aatisfa<:lory 10 '-"<"<<er.
         lnletlm Statements. All soon as avaaeble, but In no event later than thirty (30) days eltor the ond of each month, Bo<rowel's balance
         sheet end profit and toes stalament lor !he p«1od ended, prepared by Borrower.
         Tax Returns. As soon as avaloble. but in no event Ialar than 15 days aller the applicable follng date for the tax reporting patlod ended.
         Borrowefs Federal ond other governmental lax returns. prepared by a tax prolesalonalllltisfaclory 10 Lender.
          Additionol Roqul...,.,ts. Anything that Lander may teq~»~tllom time to time.
    All nnanclal reports required to be p<ovlded under 11114 ~ment shell be prepared In accordance with GAN'. apptied on a consistent
    basis, and  caruroedby Borrower as being true end c:orTecl
     Addltlonal lnfonnatlon. Furnish sucn addlllonatlnfonnation and ata!emonts. at Lender may requesl from time to Ume.
     lns..,.,co. Maintain ftre and other rl$l( tnourance. public llabilily lnsmlnca, and s.JCh -   lnStnnOa as . . _ mey require w ilh respae1 to
     Borrowe(s propar11ee end O!)ef8!lons, In form, amounts. CXM1f111J8S and w ith Insurance companies eooeptobie lo Lander. Borrower, upon
     request of Lender. will d8Civer to Lender from time to lime tho policies or certlllcates or insurance In form satisfactory 10 . . -. Including
     stipulations that cov.ragee wUI not be cancelled or dlrrinished willlout at least fitt. .n (1 5) days prior written noC1ce to Lender. Each
     insur1lnce polk:y a11o shall Include an end<nemenl p<ovlding that oov.age in favor or Lender w ill not be Impaired In any way by any ac1,
     oml&slon or default of Borrower or any oilier person. In connection with all poUcles covering assets in which Lend<>r holds or It offered a
     ....,...rity Interest lor lhe Loans, Borroww wtll provide lend« w~h s.JCh lender's toes ~ ot other~ 8S Lender mey raqulr$.
     Insurance Rtpor1s. F~.mlsh to Lender, upon request of Lender, reports on each e•lsling Insurance policy showing such inlonnation as
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    Landor may reasonably request, lnduding without Nmitatlon the folowlng: (1) the name of the iMurer; (2) the 11sks Insured: (3) the
    amount of the policy; (4) lhe properties Insured: (5) tho lhen current properly values on lhe basis of which Insurance has been obtained,
    and lhe manner of determining lhoae values: and (6) lha expiration date of the policy. In addition. upon requeSI of Lander (however not
    more oflen !han annuaW  y), Borrower will have an Independent appraiser satisfactory to Lender determine, as applicable, lhe actual cash
    value or replacement cost of any Co~ateral. The ooat of ~ueh appraisal shal be paid by Borrower.
    GuaranlloL Plio< to disbursement of any Loan proeeGds, fumish executed guetantiM of tile Loene In favor of Lander, executed by lhe
    guaranto<s named below, on Lenda(s forms. and in the amounts and under lha oondltlons set fonh In those guamnllas.
                     Nama pt <V•• AotQII                          AmmiDia
                  Jessiea Mendoza                                 Untltnfled
                  JesM Root                                       Unlimited
    Other Agreements. CorrW with all temiS and oond!tions of all olher ~. whether now or hereafte< eldsUng, between Borrow«
    and any otha< party and notlly Lender Immediately In writing of any defauft In connection with any olher suCh agreements.
    Loan Pr oceeda. Usa ali loan prooeeds solely for Borrowefs buslneS$ operations, unless spacif1calfy consented to lhe contrary by lend« In
    writing.
    Tax... Chargos and Llano. Pay and discharge when due all of ita Indebtedness and obligations. fndudlng without limitation all assa&Sments,
    taxes, govemmental Charges. leVIes and llat>S, of avery kind and nature. lmpoaed upon Botrower or ota properties, income, or pronta, prior
    to tho data on which penalties would attach, and an lawful dalms that, II unpaid, might baoome e lien or c:haroe upon any of Borrowefs
    properties, income, or pronts. Provided however, Borrower will not be required to pay and disCharge any such essassmont. tax. charge,
    levy, lien or claim so long as (1) the legality of the same shaU be contested in good fellh by appropnate proc:eedinos. and (2) Borrower
    ehal have esl8blished on Botrower'a boob adequate r _ , . with respect to such contested assessment, tax, Charge, levy, lien, or claim
    In aooordanoe with GAAP.
    Pstformanc:.. Pe<torrn and oomply. In a linlety manner, w ith all tenns, Cll:lndOtlons, and prolllslons set forth in this Agreement, in the Rotated
    Ooo.lments, and in 81 other Instruments and agreemants between Borrower and lender. Borrower shall nodfY Lender lmrruldlately In
    writing of any default In connection w ith ony agreement.
    Oparatlons. Maintain execulMI and .-agemen~ pe<wonnel with subslantlally tho same qualifications and expationca as the present
    executive and management personnel; provide wrllten notlce to Lender of any c:haoga In executive and management ~: oonduct Its
    busine$s affairs In a reasonable and prudent manner.
    EnWonmontal Studios. Promplly oond\fct and oomptete, at Borrower's expense. all such investigations, studies, S&mPgngs and testlngs as
    may be requested by lender or any governmental aulhol1ty raladva to any substance, or any waste or by-prodUd of any substance defined
    as toxic or a hazardous substance under applicable federal, state. or local taw. rule, regulation, order or directive, at or affecting any
    propany or any facll~y owned, leased or used by Borrower.
    Compliance with Govemmenlat Reqlllramonts. CorrW with all lawa, O«<inancas, and reguta!lons, now or hereaf1ar In effect, of all
    g<>Yei'Ml8ntal authorities~ to the conduct of Borrowafs propanles, buslnesoes and operations, and to the uoe or occupancy of the
    Collateral, including w ithout llm"atlon, the Amet1cans With Disabilities Act Borrower may contest In good faith any suCh lew, ordinance,
    or regulation and withhold c:<><npll8nce during any proceedlng. Including appn>p<lats _..as. so tong as Borrower has nocifoed Lender In
    wrtllng prior to doing so and so tong ao, In Landefs aola opinion, Landa(s Interests In the Collateral are not jeopardlted. lender may
    raqUfre Botrower to pos1 adequate security or a surety bond, reasonably satisfactory to lender, lo protect Leodefs Interest.
    lnspocllon. PenTlit employees or agents of Lender at any reeoonabla Ume to Inspect any and all Colat- for lhe Loan or Loans and
    Borrowefs odlS< properties and to lll<lllrine or audit Botrowefs books, accounts, and records and to make copies and memoranda of
    Borrower's books, accounts, and reoords. If Borrower now or et any Uma hereafler maintains any reoords (inCluding without Kmitatlon
    CO<l1pV\er generated records and 0001jlUter software programs for the gene<ation of suCh reoorda) in the ~ of a third pany,
    Borrower. upon~ of Lender, ehal notify IUCh party to permit Lender free aooess to such records at all reasonable Umos and to
    provide Lender with oop!as of any recorda It may roquest, all at Borrower's expense.
    Compllanc:. Corllfl~too. u - woi>'ed In wntlng by Lander, provide lender at teast annually, with e certiflcata executed by Borrowofe
    chief financial officer, or odler omcer or person a<:eepiOO!e to Lender. certifying that the nepresentotlons and wo.rranties eat forth in this
    Agneement are true and correct as of the date of the certiflcate and further certifying that, es or the dale of the certifocate. no e-.1 ol
     Oelau~ exiSia   ll'>de< this AgeemenL
     Environmental Compliance and Reports. Borrowor shall oomply In all respects with any and all Environmental Laws; not muse or parmlt to
     exist, as a result of on intentional or untnlentlonal action or arrisslon on Botrowen part or on tho part of any third party, on PfOPIII1Y
     owned 81W1/or OCOJpied by Borrower, any enWonmantal activity where damage may result to the environment, unless such environmental
     activity Is pursuant to and In compliance with the conditions of a perm~ Issued by the appropriate federal. state or loc8l govemmentaf
     authorities; shaR furnish to lender prompUy and In any event within thirty (30) days after receipl theteol a OOf¥Y of any notice, eummons.
     lien, citation, dltectlva, letter or olher communication from any govemmontlll agiiOCY or Instrumentality oonce<ning any Intentional or
     unintentional action or omission on Borrowefs pert In connection with any environmental acUvity whether or not there Ia derreQe to the
     enVIronment et>d/or Olhet natural ~
     Addltlonol Auuroncea. Make, execute and deliver to LendS< suCh promissory notes, mortgages. deeds of tnuat, security agreements,
     assignments. finandng statementa, Instruments. documents and other agreements es Lender or Its attorneys mey reaaonebly request to
     evidence and S8CU'8 the Loans and to perfect all 5eaJrily Interests.
 RECOVERY OF ADDITIONAL COSTS. If the lr\'lXlSftlon of or any chango In any law, rule, regulation. guideline, or generefty aocepted ~
 Pflndpla, or the inlerpre!ation or~ of any theneol by eny CO<J<1. ~ve. or gavemmental authority, or~
 orgorizallon r..-.g eny ~ or pollc:y not having the force ol law) ehal Impose, modofy or make applicable tltTY taxes (exoepl federal,
 state or local Income or franchise tax.ee lrrpo8ed on Lender). reserve requirements. capital adequacy r e q u i - or other obligations whlcto
 would (A) increese the cost to Lender for extencing or ~ the c:radlt facilities to wNch this Agreement relates, (8) reduce the
 arnouniS payable to Lender under thlt Agreement or the Related Ooo.lments, or (C) reduce the rete of rerum on Lend&fs capital 8S a
 oonsequence of Lendefs obligations with raapaet to the credit facilities to which this Agreement relates, then Borrower agrMS to pay Lande<
 such additional amounts as will ~te Lender theralor, within five (5) days after Lendafs written de<nand for suCh payment. whiCh
 demand lhal be ~ by an e)(l)lanatlon ot suCh itr1POsition or c:Nrge and a cetoulatlon In reasonai:Jje datal of the additional amounts
 payable by Borrower. which e~planation and c;elculations shall be conduslve In the absence of manifest error.
 Lf.NDER'S EXPENDITURES. t1 any ection or ~ Is Ollmll!ir::ed that would melerialty affect Lender's lntenl6t in the Collateral or If
 BOrrOwer fails to CXlf1l)l)l with any provtsion of this ~tor any Related Ooo.lments, lnduding but not llmted to Bomowefs failure to
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disch&rge or pay when dUe any omounls Bonower is requited 10 doscha<ge « pay under this Agreement « any Related Documents, Lender on
8ofrowe(s behalf may (but shal not be Ollfigated to) take any action that Londer deems appropnata, Including but not limited to dischorging or
paying an Ulxas, liens. security Interests, encumbrances and other clolms, at any tima levied or placad on any Coll&te<al and paying all oosts for
Insuring, malntalnlng and preserving any Co4taterel. All such eJCI)IIndltures lnc:Yrred «paid by Lender tor OUCh JlUillOS8S wilt then beat Interest ot
the rate cNirged under the Nole from the date lncYrrad «paid by Lender to the date of repayment by Borrower. All ouch expenses will beeome
a part of tha lndebtednese and, at Lende(s option. w ill (A) be poyablo on domend: (B) bs added to the balance of the Note and be
apportioned among end bs payable with any Installment payments 10 beooma due during eMer (1) the term or any applie&ble Insurance policy;
or (2) tho remaining term of the Note: or (C) be treated as a blll1oon payment which will be due and payable at tha Note's maturity.
NEGATIVE COVENANTS. Bonower covenants and             agrees with Lander that while this Agreement is in     effect. 8orrnwer shall not. without the
poior wr1Uen consent of lender.
     lndeblednns and Llano. (1) Except lor lrade debt Incurred ln tha normal course of busl_,. and lndebladness to Lender oontemplalad by
     this Agreemen~ create, Incur or assume lndebladness for borrowed money, lnducfong capital leases, (2) sal, transfer, mongage, assign,
     pledge, lease. grant e security lnl.etesl in, or encurmer any of Borrowo(a asaets (except as allowed as Permitted Uens). or (3) sell with
     remurse any of Borrowe(s IK:COUnts, except to Lender.
     Continuity of Openotlons. (1) Engage in erty business IICIMties aubst&ntialy different than those in which Bonower is presenlly engaged,
     (2) cease operations, liquidate, merge or restructure as a legal entity (whether by division or otherwise), consolidate with or acquira any
     other entity, change Its name, convert to onothor type of anUty or redomesllc8te, dissolve or transfer or sea Collateral out of the ordinary
     COU<M of business, or (3) pay any dMdends on Borrowe(s otock (olher then dl'iklends peyable In its stock), provided, however thol
     notwfthslandlng lhe foregoing, but only so long as no Event of Default has occurred and is continuing or would resull from lhe payment of
     dividends. If Borrower Is a "Subchapter S Corporation• (BS defined In the Internal RaMnJe Code of 1986, as lllllllnded). Bortowar may pay
     cash dMdends on its stock 10 Its -..holders from time 10 time In amounts nec>oS$8IY to eneble the ahareholders to pay lnoomD taxes and
     ma.t<e estimated lnoomD lax pavo-ts to satisfY their liebUttles under federal and alate law which arise solely from their &latus ae
     Shareholders of a Subchapler S Corporation because of their ownanlhlp of shares of Borrowe(a &lOck. or pundh&se or ratite tlfly of
     Borrowe(s outstanding shanls or alter or amend Bonowe(s C8jlltal str\K:t\Jre.
     Loans, Acquloltions and Guorantlaa. (1) Loan. Invest In or adVance money or assets to any other penron, enterpri&e or enUty. (2)
     purchase, create or acqulra any Interest In any olhet enterprise or entity, or (3) Incur any obligation as surety or ~ -  than In
     the~ course of~-

     Agreomonta. Enter Into any agreement containing any provisions which would be violated or breached by the performance of Borrowe(s
     obligations under this Agreement or In connection herewith.
CESSATlOH OF ADVANCES. If Lender has made Br'ly OOI'M'IItmentlo rml<e eny Loan to Borrower, whether under this Agreemer1t or under any
other agrtMif1lell(, Lender shall lwve no obligation to rmk:a Loan l>dvances or to clsburse Loan proceeds II: (A) Borrower or any Qaantor Is In
default under the t.enTe of this Agreement or any of the Ael8l8d Doo.ments or any olher egr.....ant that Borrower or f!ll'ti Guarantor has with
Lender; (B) Borrower or ertv Guarantor dies, beoomee lnoompetenl or becomes insolvent, files a petition In banki\Jptcy or similar proceedings,
or Is adJudged a banki\Jpt: (C) thenl occora e mater1al edvorse change In Borrowe(s ftnandal condition, In the flnanctal condidon of any
Guarantor, or In lha value or any Colalenll seauing llll'f Loan; or (D} any Guarantor seeks. ctalms or otherwise attempts to limit. modify or
revoke SUCh GuarantO(s guaranty of the Loan or any other loan with Londer; or (E) Lender in goad faith deems llself Insecure. even though no
Event of Default shall have occurred.
RIGHT OF SETOFF. To the extent permitted by applicable law, Lander reserves a rfght of seiOflln 1111 Borrowe(s aocounts with Lender (whet~r
chacklng. savings, or some other aocount). This Includes all ocoounts Borrnwer holds jolntty with someone else and all eccounts Borrower may
open In the future. Howellet, IlK doee not lnc:klde 8I1V IRA« K.eogl accounts. or any lrust accounts tor wt1k:tl setoff would be prohibited by
law. Borrower authorizes Lander. to tha extent pennitted by epplic:8ble law, to charge or setoff all sums owing on the Indebtedness against any
and all SUCh acoounts, and, at L.ende<'s option, to edmlnlstrallvoly freeze all such accounts to allow Lander 10 protect Ulnder's charge IIOd setoff
rfghts provided In this p8l'llgrallh.
OEFAULT. Each of lhe following shall constitute an E\let'A ol Oefooll under this Agreement:
     Payment Oelault ~ fa~s to rmk:a any payment whan- LW>det tne ~
     OtMr Oelautts. Borrnwer fails 10 comply with «to perlorm any other term, obligation, oovonant or condition contained In this Agteemenl
     or In any of the Rmated Documents or to comply with or to perform any term, obllgallon. covenant or condition contained In any olhet
     agr--.1 between l.endor 8l1d Borrower.
     Default in Fll\lor of Third Parties. Borrower or any Grantor defaults under any loan, axten$1on of credil. security agreemen~ putchase or
     sales agr~ or any other agreement. In favor of any olhar creditor or person that may mal8rially affect llll'f of 8ofroweo's or tii'IY
     Gran!O(s property or Bonowe(s or any GrantO(s ebftity to repay the Loans or perform their respective obligations under this Agreement or
     any of the Relalad Documents.
      False Statements. Any warranty, rapresentallon or slatement made or fu'nlahed to Lender by Borrower or on 8ofroweo's behalf under this
      Agreoment or the Related Documents is false or misleading in any material respect, eilhar now or at the tlmo medo or furnished or becomea
      false or misleading at any lima thereafter.
      tnoolwncy. The dissolution or termination of BO<TOWefa existence as e going business, tho InsolVency of Borrower, the appo<ntrnent or a
      receiver for any pan of Borrowe(s property, eny osslgnmont for the benefit of creditors, any type of oredltor workout. or the
      IXliM>Gncemenl of eny proceeding under eny bankluptcy or ineotVenc:y laws by or egalnst Borrower.
      Der.ctlve Coii~Wa!lzation. This Agreement or eny of the Related Documents ceasos to be In full force and effent (Including failure of any
      oollateml documenlto create a valid and perfeded security interest or lien) at any time and for any , . .son.
      c..dllor ., F-tw. P r -ingo. Commencemeut ol foreclosure or foriolture proceedings, Whelhar by judldol proceeding, se~-holp,
      repossession or any other method, by any creditor of Borrower or by any governmental agency against 9/IY ootlatoral securillQ the ~­
      Thio Includes e gamlshment of any or Borrower's accounts. including deposit accounts. with Lender However, this Ewnt of Oefautt shal
      not 8f>P1Y if there Ia e good faith dispute by ~ as to the validity or r88$0nabl8neSS of the dalm which is the basls or the creditor or
      forfeiture proceeding and If Borrower gives Lender written notice of the creditor or forfelturo proceeding and deposits with Landor monies or
      a suraty bond for the creditor or forfeiture proceeding. In an amount determined by Lender, In its sole discretion. as being an edequal8
      reserw or bond lor the dispute.
      Evonto Affecting Guomntor. Any of the IJ(800ding events occors with te.peel lo any Guarantor of any of the I~ or any
      Guotantor dies or becomes lnoompetent. or rewkes or disputes the validity      or.
                                                                                or liability uncle<. any Guaranty of the lndobledness.
      Change In Ownership. Any change In O'Miership or twenty-frve percent (25%) or more or the oommon stock of Bonower.
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    AdVerso CMnge.       A ~ -                      c:harge oc:cun1 In Bor!owe(s fiMnCial   c:onclllan, or lMdor ~ the prospect of P1¥f11!t11 or
    perfoloo "'108 or the Loan is inl>eired.
    ln~~eeurlty. Lender In good faith believes ltnlf Insecure.
    Right to Cure. If a>y default, Olher than a default on Indebtedness, Is curable and If Borrower or Grantor. as the c.ese may be, has not bB8n
    given a notice or a similar defautt within tha preceding twelve (12) months. It may be c:ured If Bonower or Grentor, osllle case rn&)l be,
    after Lender sends written ~ to Borrower or Grantor, as llle case may be, demanding cure of such default: (1) cure the default within
    ton (10) dayo; or (2) If the cura requires more than ten (10) days. tmmadlatetv lnid&te steps which lAnder deems In u.ndet's ao1e
    discretion 10 be sufficient to ...,., the defautt and thereafter continue and OC><I'(>Iete all reasonallle and necessary steps aumctont to produce
    c:ompfiance .. soon as reasonably prectlcal.
EffECT OF AN EVENT OF DEFA.U LT. If a>y 9leR               or
                                                          Oefaull lh!l occur. except where CJII1erMse pnwlded In this Agreoment       or
                                                                                                                                the Related
Ooc:umerts. all oorrmltrnente and obligations of Lender undor this ~t or the Rl!lalad 00cumen1s or a>y olhar ~ I!IYTl8dlalely will
terminate (Including any obligation 10 tnli<e futlhet Loan 1\dYanc:es or~). and, at Lende(s option. all l r - i M S irrmediately will
~ etA and payable, al without nolloe of any kfnd to Borrower, oxoept that In the case of an Evant of DelauH o f the type dasaibad In the
"Insolvency" subsection alxMo, such acceleration shell be automallc and not optional. In addition. LArder.,..,. ' - 811 the rights and retT1BCieB
pnwlded In the Roiated Documenls or~ at law. in equity, or Olherwiae. E>o::ept as may be prohibited by applicable lew , ell of Lendefs
rights and r8fTI!des sl1erll be CUTAJiative and may be exerdsed singularly or concurrenlly. EJection by lMdor 10 puraJe any remeoy shall not
exdude putSIJit of any Olher remedy, and an elecllon 10 rT1II<e ~ or 10 lake actiOn 10 perform an obligation of Bori'Q'Nel' or of any
Graralr shell not aft'ect L.errde(s right to declare a defauu and to exercise Its rights and remedioo.
REPORTNG REQUIREMENTS. NR AGING: WITHIN 30 DAYS OF MONTH EIID; AJf> AGING: WITHIN 30 DAYS OF MONTH END; BORROWING
BASE CERTIFICATE: WITHIN 30 DAYS OF MONTH END.
MISCELLANEOUS PROVISIONS. The following miscellaneous proyisio<ls are a patt of this Agfeement
    Amendments. This Agreement. together with any Ra4&ted Documents. conaUtutea the enUre unde181andlng and agrewnent of the pattie$
    as to the matters aet forth In this Agreement No alletation of or ~ 10 this Agreement sha• be effective unles$ glven In writing
    end signed by the party or parties sought to be charged or bound by the alte111tlon or amendment.
    Attorneys' t=..; expo.... Borrower ~~!Tees 10 pay upon demand 811 of Lende(s oosts and expenooa. including Lender's anornoys· fees
    and Lender's legal expenoes, Incurred in conneetlon with the enfon:ement of this Agreement. Lender may twe or pay someone elM to help
    enfon;e this Ageement, end Borrower shalt pay the ooats end ~ of tueh enforoement SutJjed 10 any Bmlts under IOPI>Iicable taw.
    ooeta and uperrses Include fifteen paroent (15%) of the prineipal plusiiCCIUed Interest oolleeted as Lendefs attorneys· fees end Lenders
    legal expenses whether or not there Is a towsult, InclUding legal e~ for beniWp(cy prcc::eedingS (Including ~ 10 modify or vac:ata
    any automatle slay or lnltJndlon). 8l)p8als. and any 811ticijleted post.juclgmenl oollecllon ~. Borrower 111110 shell pey all court costs
    and such additional fees as mey be directed by the court.
     Caption Hlodlng.a. Caption headings In this Agreement ara for convenience purpoaea only and are not lo be used to Interpret or define the
     provisions of this Agreement.
     COOMOI 10 Loan Pa<ticlpation.      Borrower agrees and consenta 10 Lender's sale or transfer. whalher now or later. of one or more
     participation Interests In tha Loan to one or more purchasers, whether related or urYelaled to Lender. Lender nwy prov;de. w ithout any
     limitation whatsoever, to any one or more ~. or potenllal ~. any lnfo<mation or knowledge Lender may have about
     Borrower or about any other matter relating lo the loen. and Borrower hereby waives any righta to privacy Borrower may have with respect
     to such matters. Borrower edditionaUy waives any and all nolloes of sole or partidpetlon Interests. aa weH as aa nollces of 81111 ....,...:nase
     of such pattlcipatlon Interests Borrower &lao agr.- that the purdlaaera or any such participation interests wUI be conaldered as the
     ebsolute owners of such interesto In the Loan and will havo 1111 the rights granted under the participation agrMm80I or ~
     govomlng tho sale of such participation lnlenl$ls. Borrower further waives a1 rjghta or offset or oounte<dalm that it may haVe now or tater
     against Lander or agalnat any pu'Chaaet of sueto a participation Interest and unoondlllonally agoos that either Lender or such purch8oer may
     enforce Borrowefs obUgetion under the Loan lrTespoctive of the failure or tneolvenCy of any holder of any inte<eSt in the Loan. Borrower
     fUrther agMS that the ~ of any such par11cipation intenasta may enforce ito Interests Irrespective of any personal claims or
     defenses that Borrower rn&)l have against Lender.
     Governing Law. This Ag,..m.nt will be governed by hdaraltaw opplc.tble to Lendar and, to the utont not preomptod by foderallaw, the
     laws of tho Stato of Goergla wnhout regard to Ita conftlcta of law provlalona. This Agreement Ma - n acuplJtd by I.Andar In the Stato of
     Georgia.
     Cholee of Venue. If there Ia a lawsuit, Borrower egrees upon Lender's request to submit 10 the jul'isdicllon of the oourta of Gw1nnett
     County, State or Georgia.
     No Waiver by Lender. Lender shall not be deemed to have waived any righll undor this Agreement unless such waiver Is given In writong
     and algned by Lender. No delay or omlsslon on the part or lender In exerdsing any rigllt shal operate os e wa'over of such right or any
     other rigllt. A waiver by Lender of a prov1$1on of this Agreement shall not prejUdice or constitute a waiver of Lendet's rlghl othetwiae 10
     demand strict oornpUance with thai provision or any other provision of this Agr......ent. No prior waiv« by Lender, nor any coo.ose of
     dealing betWeen Lander and Borrower. or between Lender and any Granter, shall constitute a waivor of any of Lendefs rights or or any of
     Borrowo~s or any Grantor's obligations aa to any future transactions. Whenever .the conaent of Lender Is required under this ~eement.
     tho granting of 8Udl conse<11 by Lender In a>y lnslanoe shell not constitute conllnurng consent to subseqUent rnll&nC:<M where such conoent
     Is required and in all cases such conaent may ba granted or withheld In the tiOie discretion o f Lender.
      N~ Any~ reqU<ad to be given under this ~ shal be given In writing, and shal be effeellve when actually da5vered.
      when ac:tueny received by telefacalmite (unle08 otherwise required by law). when deposited with a nallonolly nacognlzed overnight courier,
      or If mailed, when depo$1tad In the Uni*l States mall. as first daas. certifoed or regiS!Med mall postage prepaid, directed 10 the llddreases
      .hewn  near the baglnnlng of this AgreemenL Any party may change Its eddress for notices under lllls Agreement ~y giving formol written
      notice to llle othor portles, specifying that the purpose of the ~ Is to change the party's eddfess. For nolloe purpooes. Borrower
                                               .a
      agrees 10 keep lender Informed at times of Borrowet's current address. Unless oth8twiae proo;1ded or required by law. If there Is more
      than one Borrower, any notice given by Lender to any Borrower Ia doemed to be nolioa given 10 ell Borrowers.
      s...nobitity. 11 e court of compe1en1 jurlsdicllon finds any ptOYision of lhlt ~ to be Illegal, invafrd. or unonloroaeble es to any
      cin::umstanoe, that finding shall not rrekllthe offending prOIIISion Illegal, Invalid, or unenlon:eeble ae to IW1Y other drcu~. II feasible.
      the of!eodlng prOIIision shall be ooneideled modified eo that It bealmee legel, valid and enlorceable. If the olfendlng proiiOSIOn cannot be so
      modifted 11 shajl be considered delet.ed from this Agreement. Unless Olherwtse required by lew. tho lfl~allty, Invalidity. or une<•lorceablllty
      of eny ~sloo or this~~ &hall not effoet the legality. validity or enlonoeabillty of any other prOIIiSion of this ~Mmenl
      5ublldiarios and Al!illllt.. of BorTower. To the extent the context of any prov~ions of this Agreement makes It appropriate, Including
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    without knilatlon any ~ wamonty or c:>O\IeNint. the word ~ as 1.-l in this JIQreemenl shal include ell of Borrower's
    ~ and affillotos. Notwllhatandlng the forogolng however, under no clrcurnstonoes shall this Agnaement be OOfiStruad to req!Are
    Lender to ..-any LOen or other flnlll'ldal eccommodallon 10 any of Borrower's S<bsldaries or sffitloles.
    Succesaors end Asalgns. All coveran and ageements by Of on behalf of Botrower oon1alned in this Agreement Ot MY Rslaled
    Oocumenls shalt bind Borrower's aucx:essono and assigns and shoU Inure to lhe benefit of Lender and lls suoc:essors end assigns. Botrower
    shall not, however, hew! the right 10 assign Borrower's rights under lhis ~~ Of rry Interest lheleln. without the prior written
    oonsen1 of Lender.
    Survival of Ropresent.llons and Werrantl... BorroWer understands and ~ that in exl8ndlng Loan Advances. Lender Is relying on al
    rep<Mentatlons. warranties. end oo.enanta made by Borrower in this Agr"""""'t Ot In any certificate or other Instrument delivered by
    Botrower to Lender under this Agreement Of lhe Related Documents. Borrower further agrees that regardless of any lnveatlgation mede by
    Lender, all such representations, warranties and covenants will SUIVive lhe extension of LOen Advances and dell\lery to Lender of lhe
    Related Documents, shal be contlnulng In notwe. shal be deemed made and redaled by Borrower at lhe time each Loen AdvMoe Is made,
    and shal remain In full force and effect until such fime as Borrowel"s Indebtedness shaD be paid In full, or until this Agreement shall be
    terminated In the ,...nner provided obove. whichever is the last to occur.
    r.,. Is of the es--.
    Waivo Jury. All partifl to lhla Agr-          ;g•lv•
                               Time Is of lhe _,.;:e In the performance of this Agneement.
                                                 nt
    p;orty egainat any other p;orty. (Initial .....
                                                                the right to 1111y Jwy tn.1 In any actlon, ~ or cou'*<CIIlm brougllt by any
                                                                       )
DEFIN!TlOHS. The following capitalized wordt a terms shell have the following meanings when used In this Agreement Unless specifically
stated to the contrary, aU references to dOllar a     1s ohaM mean amounls in lawful money of the Unlled Statal of America. Words and t&rms
used In the singu1er shallncklde the plural, and the plu<al shal include the singular, as the context may require. Words end terms not otherwise
deftned In this Agreement shall have the meanings attributed to such torms fn the Unllorm Commerclal Code. Accounting words and terms not
otherwise defined In this Agreement shaW have the meanings al$lgned to them In accordance with generaly acoopted accoontlng principles as In
effect on the date of this Agreement
     Advance. The word "Advance" means a disbursement of Looo lunds made, or 10 be mode. to BorroWer Of on Borrower's behelt on a line
     of credit Of multiple edvance basis under the terms and condiUons of this AgreemenL
    Agre.ment. The word "Agreement" means this Business Loan Agreement, as this Business Loan Agreement may be amended or modllled
    lrom time to Ume. together with all exhibits end schedules attached to this Business Loan Agnsement from lime to Ume.
     eon-.     The word "Borrower" means Atlanta Light Bulbs, Inc. and loclud.. all co·slgners and oo-makers signing the Note and all their
     aucceasors and assigns.
     CollatMal. The word "Collaterar means all property and assets grantad as collateral securrty for a Loon, whether real or personal property,
     whether granted directly or Indirectly, Whether granted now or In tho future, and whether granted In the form of a aecurily Interest,
     mor\OIIQI. collateral mortgage, deed of trust, asslgnmenl. pledge. crop pledge. chattel motlgage, oolaleral challel mortgage, chattel trust,
     factol"s lien, equipment trust. conditional sale. trust receipt. ften, charge. roen or tille nstention oontract, 1eaoe Of oonslgnment intended as a
     security device, or any olttor security or lion Intents! whatsoever. whether created by law, contracl. or otherwise.
     Environmental Lawa. The words "Environmental Laws" mean any and aU alate, federal and local statutes. regulations and ordinances
     relating to the protecllon of human health or tha environment, tneludlng without limitation the Comprehensive Envfroomental Response,
     Compensation, and LlabUily Act of 1980, as amended. 42 U.S.C. Section 9801, et seq. ("CERCLA"), lhe Superiund Amendments and
     Reauthorization Act of 1986, Pub. L No. 99·499 ("SARA"), the Hazardous Materials Transportation Act, 49 U.S.C. Section 1801, et seq .•
     the Rosourw Conservation and RliOOYllry Act, 42 U.S.C . Section 6901. ot seq .• or o ther applicable state or federal laws. rules, or
     neguletlons adopted pursuant thereto.
     Event of DefauiL The words "Event of Default" mean any of the events or defauk sat forth In this Agreement in the defauk secUon or this
     Agreement
     GAAP. The word "GAAP" means generally accepted accounli'lg princlples.
     Grantor. The word "Grantor means each and all of the persoos or ontitles granting a Security Interest In             any Collateral for the Loen,
     Including without limitation ell Borrowers granting ouch a Secwlty Interest.
     Guarantor. The word "Guarentor" means any guarantOf, surety. or accommodation party of any or all of the Loan.
     Guaranty. The word "Guaranty" means the guaranty from Guanentor to Lendef, InclUding without Kmllatlon a guaranty of el or pert of the
     Nota.
     Haurdou. Substoncea. The words "Hazardous Substances" mean motorial& that, because of their quantity. concentration Of physical,
     chemical or Infectious charaetorilllcs. may cause or posa a prese<ot Of potential hazard 10 hUmatl health Of the ~~ When
     lmproperty uaecl, treated, sto<ad, disposed of, generated, manufactured, transported or otherwl$8 handled. The words "Hazardous
     SubStances• are used in lttelr very broadest sense and Include without limitation any and all hazardous or toxic oubstanees. materiala or
     wasta as deftned by or listed under the Erwlronmenlal Lews. The term "Haurdous Sub$tances" al8o Includes, withOut Umltation, petroleum
     and petroleum by-producb Of MY fraction thereof end asbestos.
     lndtbtadnHs. The word "Indebtedness• means the indebtedness evldenoed by the Note or Relatad Documents. including •• principal and
     intereal together with aJJ other lnd~,..... and costa end ""1>'105M ror which Borrower Is respon"ble under thla Agneement or under any
     olthe Relatad Documents.
     Lender. lhe word "Lender" meana Tandem Bank, Its successors and el$lgns.
      Loan. The word "Loan" means any and an loans and nnanclol accommodations from Londer to Borrower whether now or heroafler
      existing. and however evidenced, Including without limitation those loons and fmanclal accommodations described he<eln or dMCribed on
      1111y exhibit or schedule auachad to this Ag18<!111ent from lime to Ume.
      Note. The word "Note" means the Note dated September 2. 2020 and executed by Atlanta Light BulbS, Inc. In tho principal amount of
      $600,000.00 , together wllh aU renewals or, extensions of, modlf~eatlons of, nefinancings of, conso41dallons of, and substitutions for tho
      note or credit agreemenl
      Permitted Uens. The words "Permitted Liens" mean (1) liens and security Interests securing tndtbtadneu owed by Borrower to Lendef,
      (2) liens for taxes, aSSliSsmenls. or similar chargH ellher not yet due or being contested in good faith; (3) !lena of materialmen.
      mechanlea. warehousemen. or carriers, or other like liens arising In the ordinary course of buslnest and socuring obligations which are not
      yet delinquent; (4) purchase money liena or P<Jrchase money aecurlty Interests upon or In any property acquired or held by Borrower In the
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   ordinary ooo.ne of business to ...:ure indebeedness OU1Slanding on the date of this Agreement or permitted to be Incurred under the
   parngr8ph of this Agreement thled "lndebtednen and Lieno": (5) liens and security lnteresto which, "" of the date of this Agreement
   have been dlldosed to and approved by the Lender In writing: and (6) those liens end security lnte<ests whldl ln the eggregete consi!Me
   en imrnaterlel end Insignificant monetary amount with respect to the net value of Borrowe~s assets.
   Rolatad Documents. Tha words "Related Documents" mean all promissory notes, creda agreements, loan agreements. environmental
   agreements, guaranties, security agreements. m011gages, deeds of truat, security deeds, coDateral mortgages. end all other Instruments.
   agreements and documents, whether now or hereafter exlsUng, executed In connection with the Loan.
   Securl\y Agreomenl The words "Security Agreement" mean and Include without limitation any agreements, promises, covenants,
   arrangements, understandings or other agreements, whether created by law, conttact, or otherwis<l, 8'Adanclng, govemlng, repteSenting, or
   creating a Sacurily lnteresL
   Securl\y l ntoresl The words "Security Interest" mean, without limitation, any and au types of colataral security. present and future,
   whether in the form o f a lien, chatge, encumbraooa. mor1gage, deed of ll\lst, security deed, assignment, pledge, crop pledge, chattel
   m011gage, eolaterel chattel m011gage, chattel trust, factofs lien, equipment lnlst, condltior\81 sale, Inlet recelpL lien 0< UUe retention
   contract, lease or consignment Intended es a security device. 01 any olhet aeeurl\y «lien lntCWII$1 whalaoeva< whether created by law,
   contrae1, « otherwise.
BORROWER ACKNOWLEDGES HAVING READ All THE PROVISIONS OF THIS BUSlNESS LOAN AGREEMENT AND BORROWER AGREES TO
ITS TERMS. THIS BUSlNESS LOAN AGREEMENT IS DATED SEPTEMBER 2 , 2020.
THIS AGREEME.NT IS GIVEN UNDER SEAl. AND IT IS IHTEHDED THAT THIS AGREEMENT IS AND SHAll CONSTITUTE AND HAVE THE
Eff£CT Of A SEALED INSTRUMENT ACCORDING TO LAW.

BORROWER:
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                        Exhibit “C”
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 c§l Tandem Bank
                                                   COMMERCIAL GUARANTY

Borrower:                                                                    Lender.
               AUMUI Ugh! Bulbs, Inc.
               2 I 09 Mountain lndustNI BMI                                                   ..._eon..
                                                                                                   Bank
                                                                                              Tandem

               Tucker, GA 30084                                                               107 Technology Parkway
                                                                                              Sulle 413
                                                                                              Peochtnte Comers, GA 30092
Guarantor.     JKSICI Mendou
               41 I o Blue 1M Hollow
               Peachl111e Comer., GA 30082


 CONTINUING GUARANTEE Of' PAYMENT AND PERFORMANCE. In oonskleraUon of the tom of F"rve Oo•ers ($5.00) and other good and
 valuable oonsideraiiOn, the receipt and adequacy of which are hereby acknowledged by Guarantor and to Induce Lender 10 make lOans or
 otherwise exlend c redil lo Borrower, or lo renew or extend In whole or In part any exisllng lndeblednest of Borrower to L.OO.r, or to make any
 other financial aocommodaUona to Borrower, Guarantor abaohllely end uncondHionally guaranlees full and punctual payment and satisfaction of
 the Indebtedness of Borrower to Lender, end the performance and discharge of           au
                                                                                         Borrowe(s oblgaUont undef the NOie end lhe Related
 Documents. This Is a guaranty of peyrn8111 and pe<formance and not of c:OIIection, so Lender can enforce this Guaranty agalnsl Guarantor even
 when Lender has not exhausted Lendll<'s remedies against anyone elso obligated to pay the lndebtoo.-s Ot 8ljainlt any collateral I8CUMg lhe
 Indebtedness. lhls Gua<anty or eny other guaranty or lhelndebtedness. Guantnlor wm make any payments to Lender or lis order, on demand, In
 legel lender of the United Stales of America. In 58me.day lunda, without set-off or deducUon Ot countarclaim, and wlll otherwise penonm
 Borrower's obligations under the Note and Relaled Documents. Under this G<Janlnty, Guarantor'• frablllty Is unlom~ed and Guarantor's
 oilfiQations are continuing
 INDEBTEDNESS. The word "Indebtedness" as used in this Guaranty means all of the prtocipal amounl outstanding from lime to time and al any
 one or more times, ICCIUed unpaid lnlereat thereon and all collection coal$ end legal expensea relaled thereto perm flied by law, allorneya' lees,
 arising ltom any end ell debls, llabHIUes and obllgallons or every na1ure or form , now exlsllng or ltereafter arislng ot acquired, thai Borrower
 individually or colledlvely ot interdlangeably w ill\ others, owes ot will owe Lender. "lndoblednasa• Includes, wllhoullimllalion, loana, advancea,
 debll, overdraft indebledness, credll card indeblednest, lease obUgallona, liabililles and obllgallona under eny lnlerell rate prolacllon
 agreemenls or foreign currency exchange agreementt or cornmodHy price prolecllon agreementa, other obligations, and liabilities of Borrower,
 and any presenl or lulure Judgmenl$ against Borrow er, futuro advances, loana or transacllons lhat renew, extend, modi fy, relinanc.~, consoldala
 or aubslltule these debts, liabl llies end ob6gaUons whether: voluntal1y or lnvolunlarily Incurred: due or 10 become due by their terms or
 acceleration; absolule or contingent: liquidated or unllquldatad: determined or undelermlned; dlrecl or lnd~ecl; primary ot secondary In nalure or
 arising from a guaranty or surety; aecured or unsec:<Jred; joint or - - ' Ot Joint and several; evidonced by a negotlab4e or non-negodable
 lnsWment or writing; originated by Lendor Ot enothef or others; bamsd or unenforceable against Borrower l or any reason whatsoever; lor any
 lranaacllons lhat may be voidable lor any reason (such as Infancy, ln58nity, ullta vires or oth8!Wise); and originated then reduced or
 exUnguithad end lh4ln aft-.rds lnaeased or tllinstaled.
  11 Lender pre58f1Uy holds one or more guaronlie$. or hereafter receives eddlllonal guaranties Irom Gua<antor, Lender's rights under all guaranties
  shall be c:tJm1jletJII8. This Guaranty ahal not (1111ess specifically provided below to the conltary) affect or lnvolidale any such olhar guaranties.
  Guaranlor'sliob<lity will be Guarantor's aggregate llabillly under the lerms of this Guaranty and any such olher unt.,_lad guarandes.
  CONTINUING GUARANTY. ~IS IS A "CONTINUING GUARANTY" UNOER WHICH GUARANTOR AGREES TO GUARANTEE ~E FULL AND
  PUNCTUAL PAYMENT, PERFORMANce AND SATISFACTION Of THE INDEBTEDNESS Of' BORROWER TO LENDER, NOW EXISTING OR
  HEREAFTER ARISING OR ACQUIRED. ON AN OPEN AND CONTlNUING BASIS. ACCORDINGlY, ANY PAYMENTS MADE ON THE
  INDEBTEDNESS WILL NOT DISCHARGE OR DIMINISH GUARANTOR'S OBUGATIONS AND LIABILITY UNDER ~IS GUARANTY FOR /loJoiY
  REMAINING AND SUCCEEDING INDEBTEDNESS E\lal WHEN AlL OR PART Of' ~E OUTSTANDING INDEBTEDNESS MAY BE A ZERO
  BALANCE FROM llME TO TIME.
  DURATION Of' GUARANTY. This Guaranty whl lake elfao:t when reoalved by Lander w11houtlhe necessity of any acceptance by Lender, or any
  no6ce to Guarantor or to Borrower. and w111 continue In full Ioree unUI all the Indebtedness Incurred Ot conllacted before ....,.,;p~ by Lander of
  any notice or revoceUon ahall haVe been fully and finally paid and sallafted end aU of GueraniOr's other obllgallona under lhls Gu&ranty shall have
  been pe<fo.med in lull. II Gueranlor elects 10 revoke lhls Guoranly. Guarantor may only do so in wriUng. GuarantOr'S wrilten notlce of
  revocetion mull be mailed to Lender, by certified mall, at Lender's address llsled llbave or such other place as Lander may deslgnala In wriUng.
  Wrillen revocation or this Guaranty will epp1y only to new Indebtedness creeled eller ao:tual reeelpl by Lender of GuaraniO(s written ravocaUon.
  FOt this purpose and wlthoul limllation. lhe term "new Indebtedness" does not Include the lndet>CednMS which al the time o1 no6ce of
  revocation is contingenl unliquldaled, 1Modelemiooed or not due and which latar t>ec:omeS absolute, liquidated, determined or due. For lhls
  purpose end wllhout nmlletion. •new l ndebledness" does nol Include all 0t p&rt or the lndebtadness thet is: l~ed by Borrower pnor 10
  revocallon: lnciJmsd under a commitment thai became binding belore revocation; any l'&t1<>Wll!s, extenaions, subslotutions, and modoli<:allons of
   lhe 1~. This Gunnty ehall bind GuamniOr'o eslate as to the Indebtedness created both before end after Guarantor's death or
   incapacity, regatdless or Landll<'s actual nollce of Guarantor's death. SUbjed to 1he lcngoing, Guarantor's execuiOt 0t admlnoslrator Ot other
   legal ~ may letmlnate lhls Guaranty in !he same manner In which Gu!lf8ntor might have lerrnlnaled 11 . and w llh the same ellecl.
   Release of any olher guarantor or te<mlnation of any olher guaranty ol tho Indebtedness lhal not alleet the loability o1 ~ Lnder this
   Guar'&rCY· A reo.oc:elion Lender ,.,.,.,_ 11om any one a more Gl.a'artora sh9l not allect the llabO!ity oJ any reiT'Oinlng Guarantors l.Wlder lhls
   Guanlnty. It Is antlclpaled that fluctuations may ocx:..- In the aggregate amount of the I~ .-ad by this Guaranty, and Guarantor
   spaclflcalty ac:1cnow4«1gsa and . - that ~ 1n the -                      of the 1 . - , even to ..,., dol'-' (SO.OO), -           not oonamute a
   lam'll- of ltlit Guanlnty. This Guwllnty Ia binclng upon GuarantOt and Guarantor's heirs, . - and au9W so long at any of the
  1 - ~,. unpeld and even though the 1 -may from limo 10 limo be..,., dol'-' (SO.OO).
   GUARANTOR'S AUlltORIZAT10N TO L.ENDER. Guarantor aulhoriz.es Lunder. e~er be!Ote or alter any revocetion hereof, wlthoul nOilce or
   demand and without lestening Guaran!Ot's llabilily under INs Gua<anty, from time to time: (A) prior 10 revocation as aetforlh abOVe, lo make
   one or more additional sec::t.red or unsecured " ' - to Borrower. 10 lease equipment or other goods to Borrower. or othe~ to eldand
   edd~nal credfi 10 Borrower: (B) to alter, ~se, , _ , extand. aooe~erate. or ochetiMse <hlrve one or more limes lh4l time lor payment
   a -     terms ot the 1~ a fitlY pan of !he Indebtedness, Including 1ncreoses and -                           of the rate o f lntamst on the
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lndeblodneas; extensions may be repeated and may be lor looger than lhe ol1ginelloan tenn; (C) to lake end held sec:urity for lhe peymen1 of
this GJararcy or the lndebladnass, end~. e<lforce. waiw, subOrdinate, fail or deCide no1 to perfect and release any such eeeurlty, with
or without the substitution of new collatoral; (0) to . - , substitute, agee nol to sue, or deel with any cne or more of Borrower's lll.lelles,
lll'ldcd«s, or olhet gull<8r1IQr8 on any terms or in any rremer l..ender rrey choose; (E) to determlno how, when end What application of
paymentS and aecfils lhell be rred& on the lndetltec*1ess; (F) to apply such security and dlrecl the order or rremer of sale thereof, Including
withoutllmlteUon, any nonjudicial sale pen'l'itt.ecl by the terms of the COI'ItiCIIIng securily ~ or -          of trust, as Lender In liS dlsaetiOn
rrey clelernine: (G) to sell, transfer, asolgn or gmra partk;lpallons in all or any part of the lnclebtodneiJ&; and (H) to asolgn or transfer this
Guaranly In v.tlolo or In par1.
GUARANTOR'S REPRESEHTATIOHS AND WARRANTIES. Guarantor represents end warTonts to Lender that (A) no representations or
agreements of any kind have been mado to Guarantor which would limit or quaflfy In any way lhe tenns of this Guatanty; (B) this Guaranty Is
executed at Born>wers request and nol at the request of lender, (C) Guarantor has lull power. right and authority to entor Into this Guaranty;
(0) the provislona of this Guaranty do not conftlct with or result In a default under eny agreement or other Instrument binding upon Guarantor
and do not result In a Violation of any law, regulation, CCUtt decnle or order applicable to Guamn1or, (E) Guarantor has not and will not, without
the pnor written consent of lender,     san.  lea68, assign, encumber. hypothecate. transfer, or otherwise di~ ol all or aubstentialfy all of
GuarantO<'s assets, or any tnteresttheroln; (F) upon Lenders request. Guarantor wUI piO';tde to Lander llnandal and credot Information In form
~· to Lander. end al audl Anandal Information wl'llch curranlly has been, and Ill future financial Information Which will be pi'O'Jided to
Lender is end will be true and eorTect In all materlol ra&pocts ond fairly present GuarantO<'a financial condition as of the dates the llnandal
Information Is provided: (G) no material adverse change has occurred in GoaranlOI's ronanc:lal condition slnee the date or the moat recent
llnandal statements pr'OIIiOed to Lender and no evant has OCCUlTed which may materially adversely affect Guarantors flnanctel condition; (H)
no litigation, claim, investigation, administrative proceedong or similar action (ondUding those for l.l'ljlllld !aXes) against Guarantor Is pending or
threatened: (I) Lender has made no rapresentallon to Goerantor as to the creditworthiness of Borrower: and (J) Guarantor hos established
edequate means of obtaining from Borrower on a continuing basis lnrormaUon regarding Botrowers linencial c:oncillon. ~ agrees 10
keep adequataly Informed from such ~MMS of tJni focts, events, or circumstances w1'llc:tl might in tJni wey affect GuamniO<'s risks under this
Guaranty, and Goaranlor funher &gr081 that, &b5ent a request for Information, Londor shall have no obUgatlon to dlsdose to Guarantor tJni
Information or documents acQuired by Llli\Cier In the OOUt3e of Its relatlonsl'llp with Bonower.
GUARAHTOR'S F1NAHCIAL STATEMENTS. Guarantor agrees to furnish Lender with the following:
     Anno.! Stato,.,.nts. A& soon ss ll'i8ilable, but In no even1 later than one-hundred-twenty (120) deys after lha end of aach fiscal year,
     Guat8ntors balances-tend Income statomenl In< the 'f8¥ eodod, pr81l8'ed by Guarantor In form satisfactory to Lender.
     Tax Rell.ms. A& soon • available, but In no event late< th8n 15 deys after the eppliceble filing date for the tax reporting period ended,
     GuanlntO<'s Federal end other governmental lax returns, propered by a tax professional sallslactory to Lendo<.
     Adclltional Roqul,..,.,ts. Additional Items~ by Lender from lime to ~me.
All finandol repons required to be provided under this Gu&ranty t11>a11 be prepared In accordMee with GAAP, applied on a oons1sten1 basis, and
certJfled by~ • t>e;ng true and correc1.
GUARANTOR'S WANERS. Exeapl as prohibited by applicable law. Guarantor waives any right to require Lander (A) lo COflllnue lending
money or to extend other crecf4 to BorTower; (B) to mal<8 tJni ~ protest, derrend, or notioe of arry kind, lrdudlng notice of any
~of the Indebtedness or of any nonpayment related to any colteteral, or no11ce or any action or nonadion on the pan of~ .
Lender. any surety.    encror-.   or olhet guarnncor in eomecllon with the lndebtochlss at In eomecllon with lha auation of new or acltillonal
loare or obligations: (C) to resort for paym>n1 or to proceed directly or at once against arry person, lrdudlng Borrower or tJnt other guarnntor:
(0) to proceed directly against or e~ any collateral held by l.endet from ~. any olhet guarantor. or any olhet pereon; (E) to rjNe
1'101ice of lha terms, dme. and I'Aace of ent public or prMite sale of petSonl!l property security held by t.ender from Borrower or to COf1lliY w ith
ent Olhar  """lcable   prolllslons of the urrrorm Comreroial Code; (F) to ~ tJnt olhet remedy within Lander's power; or (G) to commit tJrrf
oct or orrisslon of any kind. or at any dma, with r&Ofl8CI to any matter""-·
~ elso waives any end all righte or dolensee ba5ad on SU'elyshlp or ~rment of oo1atere1 l<1cluclng, but not lltrited to, ent r1ghta or
defenses erlslng b y _ , of (A) the pn:Mslons of O.C .GA Sedlon 10-7-24 ~ GuanlntO<'s right to reQUire l.lnler to tal<a acllon
aga1not ~ or any •one action• or •anlkleflciency" law or my other law Which omy (lnN<It1t Lerdor 11om bring!~ erry action. Inducing a
dalm for deflelency. aooinal Gua"'"'""· befO<e or after LOII\ders eornmencement or ccmpletion or any foredosure action. -          )udlcietly or by
exen:lse of a power or sale: ( B) any and all rights and/or defenaes concemlng the requirement for Lender to eonflrrn a foreolosure sale pursuont
to the pi'O'Jisions of O.C.G.A. Seetlon 44-14 -161 ol seq. which may prevent Lender from bringing an 8etlon, Including a claim for dellclency,
against Borrower: upon the occurrence or a forectooure of any real properly securing the lndebeadness, the amount of the Indebtedness may
only be reduced by lhe actual amount that sUch property Is sold, even If the property has a fair marl<et value wtllch Is greeter then the price for
Whlc!l it is sold; end Landor may bring ony aetlon. lrduding a dalm for deftdency. against Guatanlot _ . If Lenders rights to pursue Borrower
or any oilier obligor haw been destroyed or otherwise advetsely affected as a result of lha foreclosure: (C) any elaction or remodles by lender
which destroys or otherwise adv&fSely affects Guarantor's subrogation rights or Guarantor• rights to prooeed against 11orTower for
reimbursement. Including without Imitation, ent loss of rights ~ may sufter by reason of any law li miting, qualifying, or discharging the
 Indebtedness; (0) any dlsabllily or other defen&e of Borrower, of any other guarantor. or of any other person. or by reason of the cessaUon of
 Borrowe~s liabiNty from any cause whatsoaver, oilier lhan payment in lull In legal tender, of the lndeblednoss; (E) any right to daim dlscn.rge
 of the Indebtedness on the besis of un]uslifled impairment of any eolateral lor the Indebtedness; (F) ony statute of limitations, If at any lime
 any aetlon or suit brought by Lender against Guarantor Is eommencad, there Is outstanding lnd-ness wNch is not belTed by any eppllcable
 statute of WmitaUons; or (G) any defenses given to guarantors at law or In equity other than actual poyment and pe!lormanoe of the
 Indebtedness. If payment Is mede by BoiTOwer. whether voluntarily or otherwise. or by any third party, on the Indebtedness and thereafter
 Lender Is foroed to remit the amount of that payment to Bonowers trustee in banlu'upley or to any Alolat person l01dGr any federal or state
 bankNpley law or law tor the relief of deblons, the lndobtedneas shaft ba considered unpaid for the purpose of the enforcement or this Guaronty.
 Guarantor further waives and ~ not to assert or claim at erry time tJnt deduc:tionl to the amount guaranteed under this Guaranty for any
 claim of setoft. eounterdalm, counter demand, recoupment or slmnar right. whether such claim, demond or right may be asserted by the
 BorTOWor, the Guarantor, or both.
 GUARANTOR'S UNDERSTANDING WITH RESPECT TO WANERS. Guarantor warrants and ogrees that oach of the waivers set forth above Is
 made w ith Guorantor'a lull knowledge or lis slgnlfleanoe and consequences and that. under the elrc:u<nstanee$, the waivers are , _ _ and
 nOI contrary to pubroc policy or law. If any such waiver Is determined to be contrary to erry applicable taw or public policy, such waiVer shaQ be
 effeetlve only to the extent permitted by law or public polley.
  RJGHT Of' SETOFF. To the extonl permitted by applicable law, Lender resaNOS a right of setoff In all Guarantors BCCOUnl£ with Lender
  (whether cheddng, 68\llngs, or some other IICCOUnt). This Includes all accounts Guarantor holds jolnUy with someone ~ end all aoeounts
  Guarantor omy open In the futuno. However, this     ex-not Include erry IRA or K.eoglaoc:ou<1!S, or any trust aoeounts r~ w1'llc:tl setoff would be
  prolibited by t -. GuaraniDr authorizJes lender, to tho o><tent permitted by applicable lew, to hold th8&8 funds If there •• a default. and Lander
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may apply the funds In these accounts to pay what Guarantor owes under the terms of this Guaranty
SUBORDINATION Of' BORROWER'S DEBTS TO GUARANTOR. Guarantor acTeoe that the lndebledness, whether now existlng or hereafter
etoatod, &hal be supe!ior to any claim that Guarantor may now have or hereafter acquire against Borrow&r, whether or not Borrower beoomBs
lnsolvenL Guarantor hereby expreuly subonllnates SillY c:taim Guaranlelt mey have 8Q111nst Borrower, upon any account whatsoever. to SillY
daJm that Lender may now 0< hereafter have egainst Borrower. In the event of i~lvency and consequent liquidation of the assets of Borrower,
thnough bankruptcy, by an assignment lor tho benefit of creditors. by voluntary liquidation, or otherwise. the - t s ol Borrower ~ to
the payment ollhe claims ol both Lender and Guarantor ahal be paid to L....,.. and shall be first awfled by ~to th& lndebtedrlt!Ss.
Guarantor dOes hereby assign to Lender ell ctalms which It may have or acquire against Borrower or egalnst e11y assignee or trustee in
bankruptcy of Borrower; provi"-<1 however. that sud1 aslignmenl shell be effective only for the purpoo;e ol assumg to ~ full payment in
legalt.encler olthe lndebCedness II Lender so requests. eny notes or credit agreements now or hereafter evidencing any debts or obligations ol
Borrower to Guarantor shall be marked with a legend that the same are subject to this Guaranty and shal be delivered to Lender. Goarantor
agrees. and Lender ts hereby authorized. In the name or Guarantor, 11om time to time to      me
                                                                                              r111anclng statements and continuation statements
end to eJ<ecute documenta end to take such other actions as Lender deems necessary or appropriate to perfect, preserve and enforce Its rights
under this Guaranty.
..SCEU.AHEOUS PROVISIONS. The following misoellaneous provisions are a part of thia Gua111nty:
    Amendments. This Guaranty. togelher with any Related Documents. COO$UIIItes the enUre understanding and egr_,.,t of the parties as
    to the mat~ets &at forth in this Guaranty. No alteration ol 0< amendment to this Guaranty shall be effaeUve unless given In writlng and
    signed by the party or parUea sought to be charged 0< bound by the alteratlO<I or amenclmeoL
    Attomeya' FM.; ~ Guarantor agrees to pay upon damend ell of Lender's costs end expenses. inclUding Lendo~s attorneys' foes
    and Lender's legal expensea. incurred In connaetion with the eniOfc:ement of this Guaranty. Lender may hire or pey someone else to help
    enfOfce this Guenonty. and Guarantor lhall pay the costs and ._-.see ol such enlorcemenL Subject to any limits under applicable law,
    costs and expenses InclUde fifteen percent (15%) of the principal plus accrued interest collected as Lende~a auomeys• IOM$ and Lende<'s
    legal expenses whether or not there Is e lawsuit, including legal expenses lor banlwptey ~ngs (Including efforts to modify or -
    8hl automatic stay or ~) . 8l)pe8ls, and any 8llticipaled post-judgment collec:llon - . Guarantor also shall pay all court oosts
    and such additional lees ae may be directed by the oourt.
     C1ptiocl He<ldingo. C8ption headings in this Guaranty   are lor convan1er>c:e purpoo;es 0<1iy ll1d   are not to be used to Interpret or define the
     pnMsions of this Guaranty.
     Governing Law. Thla Gu.ranty will be gowmed by federal law lpf>licable to Lender and, to 1t1t1 extent not prempted by federal law, the
     taws of lt1tl Stl\0 of Georgia without regord t o 111 conftlcts of low provisions.
     Cholc:a of Vonuo. II there   Is a   lawsuk. ~ egrees upon Lende(s request to Stlbmil to the                Jurtsdlellon of the   courts ol Gwinnett
     Counly, State or Geolgla.
     lntegratlon. Guarnt\tor lurther agrees that Guarantor has read and fuly understands the lonna ol this Guaranty: Guarantor haS had the
     opportUnity to be ed~Ased by Gull<ent()(s atlorney with respect to this Guaranty: the Guaranty fully reflects Guarantor's Intentions and parol
     ovldence Is not required to Interpret the terms of this Guaranty. Guanlntor hereby lndetMit1e$ and holds Lender~ 11om Ill tosses.
     claims. damages. and oosts (Including Lend81's attorneys• lees) sulfeted or Incurred by Lander es a resuk ol any braach by Guarantor or tho
     warranUes. representations and agreements of this paragraph.
     lntetpRtatlon. In aM cases wllere theta Is mono then one Borrower or Guarantor. then all wordt used In this Guaranty In the singular sha8
     be . , _ to have been used In the plural where the context end construction so require; and where there Is more than one BO<rower
     named In this Guaranty or when this Guaranty is executed by ~ than one Guarantor. the words •Borrower" and "Guarentor"
     respaeUvety &hal mean al end any one or more ol them. The words "Guarantor: "Borrower; and "lender" Include the heirs. successors.
     assJgns. and transferees ol each of them. II a oourt finds that any proll!$ion o f this Guaranty ts not valid 0< should not be enforced, lhal
     fact by Itself will not mean lhat the rest of this GuarMty witt not be valid 0< enforced. There!ora. a court will enforce the rest of the
     J)IOIIislon$ of this ~ even If a provisi0<1 ol this Guaranty may be found to be Invalid or unenforceable. II any one or more of
     Borrowor or Guarantor are corporations. partnerships. Ymlted r.abUity companies, or similar antilles, it Is not ~ for l..ender to inquire
     Into the powers of Borrower or Guarantor 01 of the omc.rs. dir..,oore. pa.._.,       -era.     01 otner agents acting or purporting to act 0<1
     \het.. t>ehatt. and arry lndtlbtedneso made or created In reliance upon thO professed exercise ol sud1 powers ahall be guaranteed under this
     Guaranty.
     Nollces. Any notice required to be given under this Guaranty Shall be given in writing. and. except lor revoeation notices by Guarantor,
     shall be effective when actuauy delivered. when actually I8C8ivecl by telelacalmlla (~Pass otllar\vtse teqt*ad by law). wllen ~ w11h
     e nallonaly r.oognized overnight oourier. or. II mailed. when deposited In the United States maU, as Orst class. oerufied or raglstared mail
     postage prepaid. directed to the addresses shown near the beglnr¥ng olthls Guarenty. All revocation notices by Gu8nlntor shall be In
     wriUng and sllall be effective upon dellvety to Lender as pro'ilcled in the section olthls Guan~nty enlhled "'DURATION OF GUARANTY."
     Any perty 11111)' change tts eddr- 1o< nolioet under this Guaranty by giving formol written notice to the other parties, spedlylng that the
     purpose of tho notice is to change the party's address. For notice purposes. GuanlntO< 119"- to keep Lender lnfotmed at ea times of
     Guatant()(s a.mmt address. Ul1ess olhe<wlse pro'ilcled or req\ked by law, II !here Is more then one GuarantO<. eny notice given by Lender
     to any Guarantor Is deemed to be notice given to all Guarantors.
      No Waiver by l.ender. Lender shal not be dMmed to have waived any rights under this Guaranty unless such waiver Is given in writing and
      signed by lender. No delay or omlssiOtl on the part of Lender In exercising any right shall operate es a w8lver of such right or any other
      right. A waiver by Lender of a proviak>n of this Guaranty Sllal not prejudice or constitute a walvef ol Lende(s right ~ to demand
      strict ~with that pn;Malon or any oCher pro11!$ion of this Goaranty. No prior waiver by Lender, nor any COUtSe of dealing between
      Lender and Guarantor. shall constitute a waiver of any of lender's rights or of any of Guerant()(s obllgollons es to tJr1y fulllre transactlons.
      IM>e.-lhe oonsent ot Lender 1s requited under this Guetanty. the ganling or such ronsent by Lender in tll"' inetanoa Sllal not c:oostilute
      continuing conaant to subeaquenl instances Where SUCh COflSent is r8QUired and In all casas such consent may be granted or withhold In
      the S04o discretion ol Lender.
      Succ.uors llld Atstgns. SubjeCt to any limitations stated In this Guaranty on transfer of Guar&nt()(s Interest, this Guarani>' shall be
      binding upon and Inure to the benefit or the parties. thelriUCC&ssors and assigfls.
      Waive Jwy. Under llld Guarantor heRby weivo the JivhLto ony jury trial In any • ctJon, proceeding, or counterclaim brought by either
      Landor or Guarantor against the other. (Initial Here  )
 OEFINmONS. The following capitallz.ed words and terms        wl     hive the following mea!'lngs when used In this Guaranty. Untes• speclncally
 stated to the contrary. all references to dollar amounts ehall mean amounts In tewrul money of the United Stales ol Atnerica. Words and \enlla
 used In the singular shaM InclUde the plural. and tho plurel shal lndudo the singular. as the conteKI may require. Words and terms not otherwise
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                                                    COMMERCIAL GUARANTY
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defined In this Guaranty shall have the meanings attrlbuted to such tenns in the Unlfo<m Commercial Code:
    ~- The word "Borrower" means AUanta Light Butbs, Inc. and Includes an co-signers and co-makert signing the Note and aU their
    successors and assigns.
    GAAP. The word "GAAP" means generaly accepted accounting principles.
    Guarantor. The word "Guarantor" me""" eve<yone signing this Guaranty, including without limHation Jessica Mendoza. and In each case,
    any slgne(a IU008ISOrl and assigns.
    Guaranty. Tha word "Guaranty• means this guaranty from GuaroniOr to lender.
     lndebledneu. The word "lndebt.edness• means Borrowe(s indebtedness to Lender as more particularly dooctibed In this Guaranty.
     l.o<1dtr. The word "lender" means Tandem Bank, its successors and assigns.
     Note. The word "Note" means and Includes without limitation al of Borrowe(s promissory notes and/or cred11 agreements e-.1denc:lng
     Borrowe(s loan obligations in favor of lender. together with an renewals of, extensions of. modifications of. refinancings of. consolidations
     of and substitutions for promissory notes or uedlt agree menta.
     Ret.tod Documents. The words "Related Documents• mean aU promissory notes. credit agreements. loan agreements, environmental
     agreements, guaranties, security agreements, mortgages, deeds of trutt. security deeds, collateral mortgages, and an other instruments,
     agreements and documents, whether now or harealter existing, executed in connection with the Indebtedness.
EACH UNDERSIGNED GUARANTOR ACKNOWLEDGES HAVING READ All THE PROVISIONS OF THIS GUARANTY AND AGREES TO ITS
TERMS. IN ADDITION, EACH GUARANTOR UNDERSTANDS THAT THIS GUARANTY IS EFFECTIVE UPON GUARANTOR'S EXECU110N A ND
DEUVERY OF nilS GUARANTY TO LENOER AND THAT niE GUARANTY WILL CONTINUE UNT1L TERMINATED IN niE MANNER SET FORTH
IN THE SECT10N T1TLED "DURATION OF GUARANTY". NO FORMAL ACCEPTANCE BY lENOER IS NECESSARY TO MAKE THIS GUARANTY
EFFEC'TIVE. nilS GUARANTY IS DATED SEPTBol!eR 2 , 2020.
THIS GUARANTY IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS GUARANTY IS AND SHALL CONST1TUTE AND HAVE niE EFFECT
OF A SEALED INSTRUMENT ACCORDING TO LAW.

GUARANTOR:
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                        Exhibit “D”
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 cSJ Tandem Bank
                                       COMMERCIAL SECURITY AGREEMENT
                                                                Loen No
                                                                         0967


Grantor:       Atlanta light 8Uib5, In<;.                                    Lender:          Tan~m    Bini<
               2109 Mountain lndua1rial lllvd                                                 Peaehtr. . Cornets
               TuckOf, GA 30084                                                               107 Technology Par1<way
                                                                                              Suite 413
                                                                                              PneMree Cornets, GA 30092



 THIS COMMERCIAL SECURITY AGREEMENT doted September 2, 2020, Ia mado and oxecu1od botwHn AHanta Ught Bulbs, Inc. ("GrantCH")
 and Tandem Bank rLonder").
 GRAilT Of SECURITY lllTEREST. f« valuable conslWI!lon, Grantor granto to l.endlr a security Interest In the Collotoral to secure the
 l~btedneSI and agi'IH that lender ohlll hovo the righb atatod In this Agreement with respect to the Coblo<al, In eddltlon to .. - rights
 which Londor may have by low.
 COLLATERAL DESCRIPTION. The word 'Collateral' as used In this Agreement means the following descriled property, whether now owned or
 hereafter acquired, whether now existing or hereafter arislng, and wherever located, in which Grantor is giving to Lender a security lnlerest for
 the payment of the Indebtedness and pertormonoe of an other obligations under the Note and this Agreement
      AU. INVENTORY, CHATTEL PAPER, ACCOUNTS, EQUIPMENT, GENERAL INTANGIBLES AND FIXTURES; WHETHER ANY OF THE
      FOREGOlNG IS OWNED NOW OR ACQUIRED LATER; ALL ACCESSIONS, ADDITIONS, REPLACEMENTS, AND SUBSTITUTIONS RELAnNG
      TO ANY Of THE FOREGOtHG; AU. RECORDS OF ANY KIND RELAnNG TO ANY Of THE FOREGOING; ALL PROCEEDS RELAnNG TO ANY
      Of THE FOREGOlNG (INCLUDING INSURANCE, GENERAL lllTANGIBLES AND OTHER A CCOUNT PROCEEDS).
 In addition, the word 'Collateral" also lndud.,. all the following, whether now owned or hereafter acquired, whether now exiSllng or hereafter
 arising, and wherever located:
      (A) All acc.ssiona. allachments, IIQCessortes, toots. parts, supj)llea, rept..,.ments of and additions to any of the collateral deactibed heroin,
      whether added now or later.
      (B) All produc:ts and produce of any or the prc111erty deecrlbed In this Collalanll sedlon.
      (C) All aooounts, genetal Intangibles, lnstrumenlS, renlS, mon;.,., payments. and all othe( rights, arl8ing ou1 of a sale, lease. oonslgrvnent
      or other dlsposjtlon or ony of the property descriled In this Colat- section.
      (0) All proceeds (Including Insurance proceeds) from the sale, desltuellon, loss, or other disposition of any ollhl property described In thts
      Collateral section, and eums due from a third party who has darreged or desttoyed the Co41aleral or from that party's IM<Jrer. whether due
      to judgrnenl, settlement or othe( prooess.
      (E) All reoonls and dala relating to ony olthe prc111erty desoi:led In this Colllleral seQion, w!lether In the 1o1m of a writing. photogmph,
      mia'ol\lm, rrk:toliche, or electronic meda, togethor w ith all or Gnmtor's right, VUe. and lnt"""'t In and to elt """"""'"' IDftwDne noqW'OCI to
      utilize. create. molntaln. and .,..,.,_ any eucn reoorde or Clllt8 on elecltonlc macJa.


  FUTURE ADVANCES. In addition to the Note, this Agreement secures aa IU!ure adVances made by Lander to Grantor regardless or whether the
  advances are mede a) pursuant to a oommitmenl or b) lor the same purposes.
  RIGHT Of SETOFF. To the exte<~t permitted by applicable law, l.e<1der reseMlS a right of setoff In all Gra'ltOI's acoounts with Landor (whether
  cheddng, S811ings. or 10m11 other IICCQUnt). This Includes all accounts Grantor hckls jolnlly with IIOmiOnl! elSe and afl acccunts ~ rngy
  open In the future. However, this does not lnc:lode ony IRA Of t<.eog> acccunts, Of any trust aa:oun1s lor which setoff would be prohibited by
  law. Grana 8IAhortzes Lender. to the exte<~t pennltted by applicable law, to charge or setoll all aume owing on the lndebledne&s against ony
  and all such accounts, and, at Lendet's option, to administratively freeze all such accounts to allow Lender to prot6CI I.Aindet's c:twge end setoff
  rights prtMded In this patllg1IPh.
  GRANTOR'S REPRESEilTATIONS AND WARRANnES WITH RESPECT TO THE COLLATERAL.. With respect to the Colatenll. Grana~
  and prorriaes to Lender that:
       Perfection of Se~urity lntarell Grantor -ureea to taka whatever actiens are reQu8Sl8d by Lender to perfect and continue Lender's security
                     Cola-.
       lntaratt in the           Upon request of Lender, Grantor w ill deliVer to Lander any and an of the dOCuments evidencing or constituting the
       Collateral, and Grantor will note Lende(s Interest upon any and all chattel paper and lnstrumenlS II not delivered to Lender lor posseMion
       by Lander. This Is a continuing Security AgrMment and will continue In effect even though Ill« any part of the lndobtedneas Ia paid In tun
       and ovon though for o parted of lime Grantor moy not be Indebted to Lander.
       Notices to Landor. Gnantor w ill prompdy notify Lender rn w riting at Lender's 8Cldnls$ shown eboYe (or such other addresseS as L811der may
       designate from Ume to time) prior to any (1) change In Grantofs name; (2) change In Grantofs assumed business name(s); (3) change
       In the management or the Corporation Grantor, (4) cllange In the authorized sp(s): (5) change in Grantor's pflndpal omc. address;
       (6) change In Grantor's state ol organization; (7) oonveraion or Grantor to a new or dlllerent type of busi.-s entity; or (8) change In
       any other aspect or Grantor that dlnectly or indlnectly retatas to any agreements bGlWeon Grantor end Lende<. No <hinge In Grantor's name
       or state of organl2ation will take effect until after Lender hos rec:eiYed notioe.
       No Vlolallon. The execution and delivery ollhla Agreement will not violate any law or agreement governing Grantor or to which Grantor is
       a party, and its certillcete or erticles ollnoorporallon and bylaws do not prohibit any lerm or oondillon of this Agreement
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   Enfon:eabffi1y of Collateral. To the extent tho Collateral consists of occounl$. chattel - · or general Intangibles, " ' defined by the
   Uniform Convnercial Code. lho Collateral Is enl<lfC8llblo In aooordance w ith ils tenns, Is genuine. and fully <XlfTIIllies wllh all applicable laws
   and regutatic>M ~ form. oontent and manna< or preparation and exacutloo. and all persona appearing to be obligated on tile
   CoNatocol llave authority and capacity to contract and are In fact obligated as tlley appear to be on tile CoilaiO<al. There .nail be no &Otoffs
   or oountetdalms against any of the Cola~. and no agreement sllal 1\ave been , _ under whlch eny deduCtions or dlsooonts may be
   claimed ooncemlng tile Collateral except tllose disclosed to Landi!( In wrlllng.
   l-ocation of tllo Colloteral. Except In tile ordinaty course of GrantOI's businoss, Gnsntor agrees to keep tile Collatanll at Grantofs eddreas
   allown above or at SUCh otller locations as ""' acceplable to lender. UpOn Lendefs request, Grantor will dell- to Lander in form
   satisfactory to Lender a schedule of real properties and Collatl!flll locations relating to Grantor's operaUons. indu<fong witlloutlimltation tile
   followi011: (1) ell rllll property Grantor owns or is purellaslng: (2) all real property Grantor is ranting or leaalng: (3) all storage facJIIUes
   Grantor owns, renls. leases, or uses; and (4) all otller properties where Collateral is or may be located.
   Removal of tilt CoUateral. Elccept In tile ordinary course of Grantofs business. Grantor sllall not remove tile Collateral from Us axlsUng
   location without Landefs prior written oonsent. Grantor shall. whenav8( requested, ed\iise lendll( of tile exaetlocation of tile Cc4latetal.
   Tr....aetloos lrwolvtng Colt.tenol Elccept for Inventory sold or IICOOUnls oollected In the ordlniiJ)' OOUI'SO of Granlofa business. or as
   oltlerwlse provided for in lhls Agreement, Grantor sllaD not sell, offer to sell, or otherwise transfer or dlspose of tile Collateral. Gnsntor
   sllaW not pledge. mongage. encumber or olherwlse pem>lt tile Collateral to be S<Jbjecl to any Den. secuflly Interest, encumbranoe. or
   Chatge, other t11en tho security interest provided for In tills Agreement. without th& prior written consent or Lender. This lndudes security
   interestl even If junior In right to the ~&rurity lnlaroats gmnled under this Agreement. Unless waived by Lender. eU prooeeds from eny
   dt.position of tho ~ (for whatever """""') s11a1 be held In truat ror lander and .nail not be a>mmlngled with eny olher funds;
   provided  1\owe-.    tills nequiremenl shsn not oonsUiute consent by lender to any sale or other disposition. Upon receipt, Gnsntor shall
   Immediately deliver any such proceeds to lander.
   Title. Gnsnlor represents and warrants to Lander that Grantor holds good and mart<atable Utle to tile Collateral. free and clear or all liens
   and encumbrances exoapt for tile lien of this Agreement. No Rnanci011 statement oov811og any or tile Collateral Ia on file In any pUb4ic
   ofl1ce olher than those whleh nttlect tile security Interest craated by ltlls Agreement or to which Lender has spedRcally consenl&d.
   Grantor shaD defend LendefS righls In the CoUatll(alagalnst tlla dalms and demands of all oltler persons.
   R..,.lts and Malntenence. Grantor agees to keep end mslnta«l. and to cause olhers to keep and mslntair1, tile Coltatentl in good orde<.
   repair and conditlon at aU Umes While this Agreement r81T1111ns In effect. Grantor f\lrltler agrees to pay when due all claims for work done
   on, or services rendll(ed or mate~al furnished In connectlon with 1t1e Colatensl so tllet no lien or encumbrence may -        attach to or ba
   ftled against tile Collateral.
   lnepection of Collaltral. Lender and Lende(s designated representaUvu and agents sllal llave Ina 11ght at aM reasonable limes to examine
   and Inspect tile Collateral wherever loeetod.
   Taxes. Assessment. and Liens. Granior will pay When due all taxes • . . . - and liens upon ltle Colatensl. lis use or opefation, upon
   lhla Agreement. upon any prorrissory nota or notes ev1denc:ing the tndebl&doess, or upon any of the other Related Documents. Grantor
   msy Wilhllold any such payment or may elect to contest any lien II Grantor Is rn good faith conducting .., appropriate prooeedlng to contest
   the obligation to pay and 80 IQOII as lendefa lntenast In tho Colatensl is not jaoperdi%ed in Lend81"s sole opinion. If the Collateral Is
   subjected to a lien which Ia not dischatged within fifteen (15) days, Grantor sllah deposit with lender cash. a sumclent corporate surety
   bond or otller security sallsfaclory to lender In an amount adeQuste to prcM<Ie for the discharge of tho lien plus any intetest. oosts.
   attorneys' fees or o1t1er charges that could accrue as a resuft of forecloeure or sale of tile Colateral. In any oontast Grantor allal defend
   itself and lender and shall aatisfy any final adverse Judgment before enforcement against the Collaterol. Gnantor shall nama Lender as an
   odditionol obligee under any sunaty bond funnlshad In tile oontest prooeedlogs. Gnsntor lurtller ag-. to furnish Lender w11h ~ 11\at
   such taxes. aaessrnents. and ~ and other charges hove been pald In full and In a timely manner. Grantor may withhold any
   such payment or may elect to oontest any foen If Gmt1tor Is In good fallh conducting en epproprlete proceedir1g to oonlest tho obligation to
   pay and so long ae lendefe Interest In tho Coloteralle not jeopanlized.
   Complllnco with Governmental Roqulromenta. Gnsntor allall comply prompuy with all laws. ordlnences. rules and regulations of all
   governmental authorities, now or hereaner In effect. appllcable to lha ownershl!>. prociUctlon. disposition. or use or lho Collot-. including
   all laws or regulationa rl!latlng to tile unduo oroelon or lllgh~rodlbte land or nslafing to the oonversion of weuands for tile production of en
   agricultural product or commodity. Grantor may contest In good faith eny such lew, ordlnMce or regulation and wflhhokl oompli8noa
   during any prooeedirlg. induding appropriate &p1)881&. so long as Lendefa lnlerest In tile Collatentl. in lende(l opinion. is not jeopardized.
    Hu.ardoul Subatancea. Grantor represents and warrants that the Collateral never has been. and - w i l l be so long as this Agreement


    based on Grantors due diligence In lnvestigaUng tl\8 Colllltl!flll lor Hazardous Substances. Grantor henaby (1) ,..,..,_ end
    Muna claims against Lender for lnderMity or oontributlon In tile event Grantor becomes tiabla for deenup or other oosls under any
    Environmentallawa. end (2) agrees to indemnify, defend, and hold hetmlll$$ lender against any and all dalms and~ resuiUng from a
                                                                                                                                           w-
    romairl$ 8 lien on tile Collateral. used In violation of any Environmenull Laws or for tile generation. menulecture. Jtorage. lronsportaUon.
    treatment, disposal. nsleaM or tllreatened release of any Hazardoos Substanoa. The representaUons end warranUes contained heraln ere
                                                                                                                                             any


    breach of tills provltlon of this Agreemenl This obligation to indemnify and defend shall suNive tile payment of tile lndebtednMS and tile
    satlslacdon of lhis AgreemenL
    Maintenance of Cuualty lnsunnce. Grantor allaM procure and maintain au rtsl<S lnsunlnoa, tnduding without Gmitatlon f~<e, lhefl and
    liability oooerage togetller with such oltler 1nsuranoe as Lender may nequlre with respect to tile Collateral, In form. amount$, ~ and
    basis reasonably acceptable to Lender and Issued by a oompany or companies reasonablY eccel'(abla to Landi!(. Gnsntor. upon reQI.HI8t of
    Lender will deiM!r to Lender from time to ume tile policies or oartificatas of lnsl.nnoa In form satisfactory to Lender. Including stipulations
    lhet ~will not be cancelled or dlminlshed wllhoul at laall foftoen (15) dayo' prior written notice to Landor and not lnclud_ing any
    disclaimer of the insurer's liability for failure to give such 1 nouoa. Each insu<anoa poGc:y also .nail Include en endorsernOOt providing tllet
    c:overege in favor of lender will 1'10( be !nl*rad In eny way by eny act. omission or defauH of Grantor or any other peraon. In COMectlon
    with aK policiet oov•ring assets In which lender hOlds or Is offered a secul1ty interest, Grantor will provide lender with such lois payable
    or Olher endorsements as lender may require. If Grantor at eny time falls to obtain or malnlaln any trwuranca as requ1nad uncler ltlls
    Agreement, Lender may (but shal not be ob41gat&d to) oblain such lnsurenoe as Lender deems epproprlata. lndudlng If Lender 80 chooses
     ·single Interest Insurance, • which will oovar only landefs Interest In the Collateral.
    ~ of 1nsunnc1 P - Gnsntor sl\al prompdy noUfy lender of eny loss or damage to tile Collateral, whether or not such
    casuolty or loss is covered by Insurance. Lender may make proof or loss if Grantor fails to do 80 within fifieen (15) days of the caualty.
    All proceeds or a~~y II\SIKIIIl08 onlha Collatensl. lncrucfing eoc:rued prooeeda thoraon. shal be held by lender as pel1 of tile Colatere4. II
    lender OOI1li4M'Its to repair or replacement olthe damaged or deatroyed Collatonst, Landor sllall. upon satisfactory proof of expendiUJre. pay
    or reimburse Grantor from the proceedl for tile reasonable cost of repair or restoration. If lender doee not oonsent to repair or replacement
    or the Colatensl. Lender a11a1 natain a sullldeot amount of tile procaeda to pay all or tho Indebtedness. and shall pay the belenoa to
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    Granier. Any proceeds which ' - nol -              disbned within sl• (6) months after their r9081pt end which G<antor hos not committed to
    the repaif or restoration or the Collateral shall be used to propay the Indebted._,
    lnsuronce Re..rvK- Lande< may req'*e Gran!O< to maintain with lender reserves for payment ollnsurance premiums, which reserves she I
    be created by monthly payments from Grantor of a sum estlmated by Lender to be sufficient to produce, et least fifteen (1 S) days before
    the premium due date, amounts at I&Mt equel to the ln$Urance p<emlums to be paid. If fifteen (15) days bela<e payment l$ due, the,_.,.,
    1\Jnds ars lnsufficlent, Grantor 11\81 upon d«nand pay any defiden<:y lo Lender. The reserve funds shall be held by Lender as a general
    deposit and shaft constitute a non-interest-bearing aocount which Lendor may satisfy by payment of the Insurance pnsmlums required to be
    paid by Grantor as they become due. Lender doee not hold tile r8$81W funds In INti lor Grantor, end Lender Is no1 the agent of Grantor
    lor payment of the ;..........., premiumS required to be paid by Grantor. The responsibility for the payment of premiums shall remain
    Grantor's II04e responsibility.
    Insurance Reports. GrnniOr. upon request of Lender. shill fum4oh to Lender reports on each eld&ting pofocy of insurance ehoWing SUCh
    information as Lender may reasonably request including the following: (1) the name of the Insurer: (2) the risks Insured; (3) the amount
    of the policy, (4) the property Insured: (5) the then current value on the besls of which 1nsuranca has been -ined and the mamer of
    determining that value; and (8) the expOn>tion dale of tho policy. In addition, GraniOr shall upon request by Lender (however not ma<e
    often than annually) have an independent appraiser satisfactory to Lander determine, as applicable, the cash value or raptaoement cost of
    the Collatenal.
    FinAncing Statements. Granlor authol1zes Lender to file a UCC financing statement. or alternatively, a oopy of this Agreement to perfect
    Lender's security Interest. At Lender's re<lUGSt. Grantor addhlonaly oqees to sig1 all OCher documents that a-e necessary to potfect,
    protect. and continue Landel'o security int-tln the Propeny. G<anlor will pay all fifing Ieos, title transfer fees, end other foes and costa
    lrwolved uniOS$ prohibited by taw or unless Lender Ia required by law to pay such lees and costs. Grantor lrrei/OCably appoints Lender to
    execute documents necessary to transfer tiUe II !hera is a defautL Lender may file a oopy of this Agreement as a flnanc:lng statamenL
GRANTOR'S RIGHT TO POSSESSION. Until default, Grantor may have possession of the tangible personal property and benefidat use of all the
Colleteral and may use It in any lawfUIITll>nner not tnoonsistent with this Agreement or the Relalecl Documents. pro\1\ded that GraniO<'s r1ght to
poaession and beneficial .-a shal nol epply to any Ccllateral where possess;on of the Colateral by Lender Is ~eq'*ed by law to perfect
Lende<'s security Interest in auch Collateral. If Lender at any time has possession of any Collateral, whether befa<e or altar en Ewnt of Default.
Lender ahaQ be deemed to have e.erclsed reasonable care in the custody and pteSB<Vation of the Colaletal if Lender takes such ac6on for that
purpose as Grnnlor shell ~ or as Lender, in lender's sole discretion, shall deem appropriate LWlder the drcumstances, but faffure to honor
any request by Granlor shall not of ltsatr be deemed to be a failure to exerdse reasonable cera. Lencler shell not be required to take any etepa
necessary to preserve any rights In the Collateral againsl prior parties, nor to protect. pr-.ve or malnlain any security interest giYen to aeoure
the lndelllednesa.
LENDER'S EXPENDITURES. If any ac:Uon or prooeedlng is oorrmonced that would meterially affect lender's in1A1r8s1 In the Calateral or If
Gtanlcr falls to <XlfT1liY whh any pttMsion of lhis ~ or any Rllleled Doalmenls, Including but no1 llmited to Grantor's feilure to
discharge or r>e!Y ""'- wa any arnc:u1IS Grantor Is required to discharge or pay under this ~ or any Related Oocumonts. Lender on
Granto(e behalf may (but shall no1 be obligated to) ta1<e any ection lhet Lender deerrs ~. Including but not litrited to ~ng or
pe)1rg wl taxes, liens. aea..tty inleteSts, enc:uTCrances and -     dalms, at 8l!'f time lellled or placed on the Coltateta! and paying all 0061s for
insurir"G. manalnlng and ~ng tha Coftalerlll. All such expenditures lncum&d or paid by Lender for SUCh purposes will then be. iniAir8sl at
the rate c:hatged under the Nelle from the dale inC&mod or paid by Lender to the dele of~ by ~. All such 9lql8flSGS will become e
part of the tndebtednMs and, at L811dar's option, will (A) be peyab4e on dernend; (8) be added lo the balance or the Note and be apportioned
among end be payable with any ln81allmant paymonts to become due during either (1) the term of any applicable Insurance policy: or (2) the
remaining term of the Note; Of (C) be treated as a balloon paymeol which w ill be wa and paya1>1e at the Note's maturity. The Agreement aloo
wilt secure payment of theaa amounts. SUet! right shaM be in addition to all other rights and remedies to which Lender may be enUtted upon the
occurrence of any Event of Default.
DEFAULT. Eadl of the following shall c:onslitute an EYent of Oetault under this Agreement
     Payment OelauiL GrantOf failt to make any payment when doa under the lndabledness.
     Othe< OebuHs. Grantor fails to c::oroply With or to perform any other term, obl\patlon, covenant or condltlon contolnod In lhlo Agreement or
     In any of the Related Oocu,.nts or to comply with or to perform any term, obligation. covenant or condition contained In any other
     agreement betweon Lender and Grnnlor.
     Default In F..., of Third Par\les, Any guarantor or Grantor defauHs under any loan, extension of credll, security agreemen~ pun:h8se or
     sales agreement, or any other agreemenL In f~ of 8l!'f other credilor or parson that rrey materially eRect any of any guarantor's or
     Granlof's property or ability to perform their respoctlve obliga.tlona under t~ AQ<eamerlt or any of the Related Documents.
     FaiH Statomants. Any warnanty, representation Of statement made Of fuml$hed to L.endor by Grantor or on Grnnlct's behalf under this
     Agteement or the Relalecl Oocumants l$ lalaa or ~ In any material raspect, either now or et the time made or furnished or becomeS
     false or misleading at any time thereafter.
     Defective Col'--llzallon. This ~~ or any of the Related Oocumants cea$M to be In full force and effect (lnduding failure of any
     collateral document to eteate a valld and parfaded &ecurity lntorost or fien) at any time and for any reason.
     Insolvency. The dissolution Of termination of Granto(s eldstence as a going business. the irl$olverocy of G<anlor, the appointment of a
     receiver lor any part of Grantor's property, any 8$Signment for the benefit of creditors, any type of creditor wol"kout. Of the commencement
     of any proceeding under any bankruptcy or lnaofvoncy lows by or egsln&t Grantor.
     Creditor   or   Fort.ll~n I'Toceedtnga. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding. aetf..,elp,
     repossession     orany other method, by any creditor of Grantor or by any govammentaJ agency against any collateral securing the
     Indebtedness. This Includes • gamlshment of any of Granlof's accounts, lnduding deposit accounts, with Lender. Howewr, this EYent or




                                                                                                                         1-
     Default ahell not apply If there ts a good faith dispute by Grantor as to the validity or reasoneblenesa o f the claim which Is the beals of tha
     creditor or forfeiture proceeding and II Grentor gives Lender written notice of the creditor or lorfelture proceeding and deposits with Lender
     monies or a surety bond for the credllor or for1eiture proceeding, In an amovnt delermlnod by Lender. In its 1018 dlacretion. as being an
     adequate .--ve or bond for lhe dispute.
      Events Affecting Guarantor. Any ollhe preoedlng events occutS with raspect to any Guaranlor of any of the                         or Guaranlor
      ~ or bocomeSin<:ompetant or revc~<es or dispute& the validity of. or liability under. 8l!'f Guaranty or the lndebtednest.
      Adverse Chango.        A malarial   - . e cl...nge occurs     In Grantor's Rnandlll oondltloo, or Lender bollelles lhe proepect of payment OT
      parfornwca of the ~is lrrc>eiracl
      lnoec:urlty. Lender In good faith believes Itself ins&cure.
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                                           COMMERCIAL SECURITY AGREEMENT
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    Cure Prolllsk>ns. If any delaY!!, OCher than a defaun In payment Is curable and if Grantor has not been given a notlce of a breach of the
    same prolllslon of this Agreement within the precadlng twelve (12) months, It~ be cured If Gnlntor. al\er l.ende< send$ written nollce to
    Gnlntor denwlding cure of ouch default; (1) curaslhe default within tan (10) days; or (2) i f the cure requires more than ten (10) days,
    lmmedialely Initiates steps Which Lender deems In Lender's sole discretion to be sutficlent to cure the default and thereafter condnues and
    completu au reasonable and neoeasatY steps su~nt to I)<Oduce c:ompr""""' as soon as reasonably practical.
R1GHTS AND REMEDIES ON DEFAU~T. lr an E\lar'( of Default oecura undor this ~. 81 any dme thereafter, Lender- ,_all the
rlgh~ ore secured party under the Georgia Unllonn Commertial Code. In add41ion end without Pmitallon, l.ender ~ exerdse any one or more
or the following righl8 and remedies:
     Aecelerota lndebtednu&. Lender may declare the ..,tire lndebtadness, lndudlng any prepayment penalty whlc:h Grantor would be required
     to pay, immediately due and payable, without notice or any kind to Grantor.
     Asaemble Collatoral. Lendor may require Grantor to deliver to Lander aN or any porllon of the Collateral and eny and a1 certificates of tiUe
     and other documanl8 relating to the Collatenal. Lande< may require Grentor to assemble tha Collateral and make It available to Lender at a
     place to be dealgnated by Lender. Lender also shall hove full power to enter upon the propeny of Grantor to take poesasslon of end
     nlmOV8 the Colale<al. If the Collateral contains -     good$ not covered by lhls Agreement at the Ume of repossession, Grantor agrees
     Lender may take   such- goods, provided that Lender makes reasonable efforts to return them to Grantor after ~salon.
     Sell tho Collatorel Lender shaD have loll power to sell, lease, transfer, or otherwise deal with the Colatorat or proceeds thereof In Lende(s
     own name or that of Grantor. Lender may sell the Collateral at public aucUon or prlllate sale. Unless the Collateral threatens to dedlne
     speedily In value or Is of a type customarily sold on a recognized matkt~ Lender w ill give Grantor. and other perwons as required by law,
     reasonable nollce of the time and place of any public sale, or the Ume al\er which ..,y pn,.to sale or any other dlsposltlon of tho CoOaterat
     Ia to be modo. Howover, no notice need be prolllded to eny person who, alter Evant of Default occurs. enters Into and eu~dcatos an
     agreement wellllng that person's right to nollllcatlon of sale. Tho requlremen18 of reesonable notice shall be metlf ouch nollce 1$ given at
     least tan (10) days before the time of the sa. or disposition. All expenses relati11Q to the disposition of the eonateral, Including w itho ut
     Omltation the expenses of retaking, holding, Insuring, preparing for sale and selling the Collateral, shal become a p&rt of the Indebtedness
     secured by thia ~and shall be~ on demand, with lnlerMI at the Nole rate from date of expenditure unb1 re!>"id.
     Appoint Receiver. Lender shall have the right to hove a receiver appointed to take possession of elt or any pert of the Cdlatetal, with the
     power to protect and prosetVe the Colateral. to opetale the Colateral preceding forecfolura or sale, end to collect the rents from the
     Colaleral end apply the ptOCeeds, over and above the cost of the rect!lvershlp, against the Indebtedness. The receiver may serve without
     bond If permJtted by law. Lender's right to the appointment of a receiver shall e.dst whather or not the apparent value of the Colt8t-
     exc:eeds the Indebtedness by a substantial amount. Employmenl by Lender shall not dlsquelify a person from S&Mng as a receiver.
     Collect Revenues, Apply Aecountt. Lender, either Itself or through a receiver, may collect the peyments, rents, Income, e n d - from
     the Colal«aa. l.ende< may at any time In Lander's disctetion t.ransfer any Colateral into Lander's own name or that of Lenda(s nominee
     and receive lha paymenl8, renl8. income, and revenues therefrom and hold the aame as security for the lndebeedness or apply It to
     payment of the Indebtedness In suc;h order of preference es Lender may determine. lnsoflll' as the Colaletal consists of eccounl8, general
     lnlangibjes, lns<nnce polides, inatruments, c;hattal paper, choaes in action, or slmnar property, Lender may demand, collect, receipt lor.
     settle, compromise, adjust, sue for, foreclose, or realize on the Collateral as Lander may determine, whether or not lndebtaclr-. or
     Collateral Is lhan due. For lllosa purpcl68S. Lender may, on behalf of end In the name of Grantor. receive, - a n d dispose of maM
     addressed to Grantor; c:har'Ge any addr""" to Whic:h mail and payments are to be sent; and endorse notes, c:hed<.a, drafts, money orders,
     documents of title, lnstnJments and Items pertaining to paymen~ shipmen~ or storage of any Colateral. To facilitate oollecflon. Land'"'
     may notify acco<.W\1 debtoro and obligors on any Colatoralto make p8ym""ll direcUy to Lender.
     ObUIIn Deftei..,cy. If Lender cl1oo6es to sell any or all of t11o Collateral, Lender rrey obtain a judgr'ne<1t against Gran4or for any deficiency
     remalni11Q on the tnclebledness due to Lender al\er application of all amounts received from the e•erdse of the righte prolllded In this
     Agreement. Grantor shaQ be liable lor a deficiency even If the transaction described In this subsecllon is a sale or account$ or chattel
     paper.
     Other Rlghts end Remedies. Lande< shan have all the rights and remedies of a secured creditor under the pnovisiona of the Uniform
     Commercial Code, as may be amended from time to Ume. In edditlon, Lender shal have and may • . . . - any or ell other righoa and
     remedies it m a y " - - et how, tn equity, or orhe!Wisa.
     Election of Romedlea.   Elccept es may be prohibited by applicable law. all of Lander's rights and rornecie6, whether evidenced by this
     Agreemen~ the Related Ooc:ul'lleflts, or by any odter wribng, shall be cumulative and may be exerdsed sl11Qula~y or concurrently, Election
     by Lender to pursue any remedy aha" not axdude pursuit of any other remedy, and an elactlon to moka axpendRures or to take actfort to
     porfonn an obllgallon of Grantor under this Agreemen~ after Grantofs fallute to perform, -    not affect Lande(s right to declare a defauh
     and 8l(er0se Its remedes.
 MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are e part of lhll AgrMment:
     Amendments. This Agreement. together with any Related Oocumentt, constitutes the entire understandi11Q and &gt'll9ment of the parUes
     as to the matters sot forth In this Agreement. No alteradon of or amendment to this Agreement shall be effecflve uriesa g;-, In w riting
     and S9l8d by the pany or parties sought to be chatged or bound by the alteration or amendment.
      Attomeyo' F -; Elcpe,_., Grantor agrees to pay upon demand ell of Lende(s costs and expeoses, Including Lender's attorneys' fees and
      Lender's legal &XPB"S85, Incurred In conn~ w ith the enforcement of mls Agreement Lender may hire or pay someone -                    to tlelp
      enforce this Agreemen~ and Grantor shall pay the costs and e•penoos of suc:h enforcement. Subject to any llml18 uncklr applicable law,
      costs and expenses Include fifteen percent (15%) of the principal plua 8CCtUOd interest collected as Lender's attorneys' fees end Lande(s
      legale~ whether or not there Is a lawsuit. Inducing legal e>q:>enSOS for bankruptcy proceedings (Including efforts to modify or viiCllta
      any automatic stay or injunction), appeals, and any anticipated post-judgment collection sarvices. Grantor also shall pay all court costs and
      such addltlonal fees as may be ditac:tad bv the court.
      Caption Headings. caption headings In this Agreement are for corwanlence purposes only and are not to be used to interpret or dellne the
      provisions of this Agreement
      Governing Low. Thl o Agroomont will be governed by federatlow applicable to Lender and, to the oxttnt not proempt.d by federal law, tho
      lows of the State of GeorlJI• without regMCI to Its conlllcls of law prolllslons. This Agreement has -       Kcepted by Lender in the State of
      GeorlJia.
      Chalco o f v enue. If there Is a lawsuit. Grantor agrees upon Lender'sl'8qUI!SI to &ubn'it to the jurisdicdon of the courts of Gwin<lett County.
      Stata ol Georgia.
      No Waiver by LAndOr. lender ahatl not be deemed to have waived any rights under this Agreem""t unless suc:h waiver Is given in wr\Ung
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    and signed by landet. No dolay or omission on the part of l&ndet In axetclalng any tight sh8l opemte as a waiver of suctl right or l1fiY
    Olher tight A waiver by Lend« of a provision of this Agrooment Shall not prejudlco or constitute a waive< of Lendet's right othetwisa to
    demand strict compliance with that ~ or any othet ptOvision of this 1\geenle(lt No ptior waive< by l.Aindet. nor arry course of
    cleeling between lendet and Granlot, sh8l constitute a waiver of any of Lende(s tights or of any of GmntO(s obligations ae to any Mute
    transactions. IM1enever the ~t of Lendat Is required under this Agreement. the gtanling of ouch consent by lendet In l1fiY Instance
    shall not constitute conlloolng consent to ~ ~                       wn...
                                                                            sueh consen1 Is requited and in all cases such consent may bo
    granted ot withheld in tll9 so4e disctotlon of Lender.
    Noli.... Any notice I'8QIArad to be given unclet this AgMment Shall be giYen in writing, and shall be effective When actually delivered,
    When aetualty mcelved by telefacslmne (unless otherwise requimd by low), when deposited with a nationally recognized ovemight eouriet,
    or, if mailed, when deposited In the United States mall, as nrst cle$$, oertlfied or mglstenad mall poolage ptepaid, c!irected to the addresses
    lllown neat the begirri'>g o f lhls Agreement. Any pany may change Ita address for notlces under this Agreement by giving formal wtitten
    nolioe to the other parties, specifying that the putpOSO of the notice is to change the party's address. FOt notice purpoMS, Gramer 8!788S
    to keep Lend« informed at a1 times of Grantor'a cunenl addtess. U,.._ otll9rwlae provldect or required by law. If there is mote than ono
    Gtantor,11f1Y notioe given by Lender to any Gmnlot is cleemad to be notice given to all Grantors.
    P-er of AtlorMy. Granlot hereby appoints Lande< as Grantor'a Irrevocable attorney~n·fact for the purpose of executing any documents
    necessary to perlect, atnend, or to continue the security Interest granted In this Agteement or to demand termination or ftllngs of olher
    secured parties. Lender may at any time, and without furtll9t author1zatlon from Gtan1ot, file a carbOn, photographic or olhot reproducdon
    of any financing atetement or of thla AgtMment for uae oa e financing statement. Grantot will relmbuNie Lender for 811 e>pOnSOS for the
    perfec11on and the continuation of tll9 perfection of Lendet's security lntetestln tll9 Calateral.
    Severability. If • eourt of ~tent ]utledi<1Jon finds l1llY pmvlolon of this ~nt to be illegal, invalid, or unenforoeoble oa to arry
    circumstance, that finding shall not maka the offending pmvlaion Illegal. Invalid, or  "'"".:orceable            -clralmstance.
                                                                                                             as to any                     If feasible,
    the olf~ provision lhel be oonaidered modlfted so that It beoomes tegat valid and onforoaeb4e. If the offending prollision cannot bo so
    madill«!, It aheft be c:onaldered deleted from this Agtoement Unless otherwise requited by law, the Illegality, Invalidity, or unenforoeabilit
    of any provision of this Agraatnent ahell not affect the legality, valldOty or erlotceabilily of arry 04her pmvlalon of this Agreement
    Succeuota and Anigno. Subjact to eny llmitotlons slated In this Agreement on tranafer of GrantO(s lnteresr. this ~ shall be
    binding upon and Inure to the benefit or the parties, theft auccessors and assigns. If ownerahlp or the Collaloral becomes vested In a
    person olhef than Gtantor. Lend«, without nolioe to Grantor. may deal with Gmntofs successors with reference to this Agreement and tll9
    lndabtednosa by way of forbearance or extension without releasing Granlot ffom the obQgatlons of this Agr_..t or liability under the
    lnd~

    Survival of Rt p<Hentatlons and Worrantits. All representaliona, watmntiea. and ~ rredo by Gnll1lor In this Agraement shall
    .......,. the a..ecuUon and delivery of this Agr-"801. shall be oontlnuing In nature, and shall remain In full force end effeot until auch time
    as Grantor's tndebteOOI!ss shan be peid In full.
    Time Ia of tll9   e:-nc..   T1ma Is of the _,.,., In tha perlonnanoe of this Agreement.
DEFINITIONS. The following capjlallzed words and terms shal haY8 the following meanings when uaad In this Agr. .menL U.-s specific:alty
alated to the contrary, aU rafe<enoea to do8ar amounts shll mean amounts In lawful money of the United States or America. Words and terms
used In the singular shall include tho plural, and the plural ahaU Include the slngul8r, es the context may require. Worda and terms not olherw\M
defined In this Agreement sl\al haWI the meanings allributed to auch terms In the Uniform Commercial Code:
    Ag.....,..nt. The word 'Agreement' moans thla Commarclal Security Agreemenr. as this Commercial Security Agreement may be amended
    or modified from time to time, together with alexhiblta and achedules attaclled to this Commercial Security Agreement from time to llme.
     Borr-or. The word 'Borrower' means AUanla l ight Bulbi, Inc. and lncludea aU co-signors lind co-makers signing the Note and all their
     aucoasson and assigns.
     Collateral. The word 'Collateral' means all of Granlol's right, tiUe and interest In and to aD the Calate<al at desa1bed In lhe Colateral
     Oesetlptlon aactlon of this Agreem.nt.
     Environmental Laws. The words 'Envlronmeolal Laws· mean any and all otae., fede<el 40NI loaot statutes, regulations and ordinances
     relating to the protoctJon of human lleaiU't or the .nvitonmenl, Including without lmllallon the Comptehenslva Environmental RtiSponse,
     Compensation, and Uabirrty Act of 1980, as amended, 42 U.S.C. Section 9601. et seq. ('CERCLA'). the Superfund Amendments and
     ReaulhotiUtlon Act of 1986, Pub. L. No. 99-499 ("SARA'), the Hautdous Materials Transportation Act, 49 U.S.C. Section 1801, et seq ..
     the Resowce ConsetVatlon and Recovery Act, 42 U.S.C. Section 8901. et seq., or other appllc;able stale or federal laws. rules, or
     regulations adopted pursuant thereto.
     Ewnt of Dtfoult. The wotds "Event of Default" mean any of \he events of default set forth In this Agreement In the dofaull section of this
     Agreement.
     Gronlot. The word "Grantor' meaos Atlanta Light Bulbs, Inc .•
     Guarantor. The word 'Guarantor' meana any guaranlor, aurety, or &e1:0Rlmodatlon !'arty or any or an of tha Indebtedness.
     Gu.ranty. The word 'Guaranty' moans the guaranty from Guarantor to Lender, Including without li mitation a guaranty of Ill or pert of tll9
     Note.
     Hazardous Subotancea. The words 'Hazardous Substances' m&an materiale that. beCause or thai< quantity, ooncantnotlon or phyak:al,
     chemical Ot fnfactiouo cllaractorisUcs may cause or pose a present or potential hazard to human health or tll9 environment when
     lmpropar1y used, treated. stored, disPosed of. garlltf8ted, manufactured, transported or otherwise handled. The words 'Hazardous
     Substances" ate used In their vary broadest sense 8nd Include without Wmltatlon any and al hazordous 0< toxic substances, materials ot
     waste as defined by or fisted I.Wldet the Envl<onmentel Laws. The term 'Haurdous Substances• alao lncludfts, wllhoutlimltation. petroleum
     and petroleum by-products or any fraction thereof and asbestOs.
     lndebCedness. The word 'Indebtedness• means the indebtedneSS evidenced by the Note or Related Documents, including all principal and
     Interest together with all other Indebtedness and coats and expenses for which Grantor Is r0$1)0ftsibla under thla Agreement or under any of
     the Related Documents. SpeclficeUy, without limitation, lndebledneas indudes the future advances aat forth In the Future Advances
     provialon of this Agreement together with all Interest thereon.
      t.endet. The word 'Lender" rneana Tandem llan4<, ita succeasors and assigns.
      Note. The word ' Nota' means the Nole dated September 2. 2020 and executed by AUanta light Bulbs. Inc. In the prtnc;IPal amount of
      $600,000.00, togetll9r with al renewala of, extensions of, modl flcetlons of, refM~andngs of, COf>solidatlons of, and subshtut1ons for the
      note or credit agreement.
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   Property. The word "Property• means all of Grantor's right, title and Interest In and to au the Property as cleserlbed in the ·eonatenel
   Dncripllon• section of lhla Agreement.
   Related Documenta. The words "Related Documents• mean aU promissory notes, credit agreements, loan egneements, environmentel
   egreements, guaranlles, security agreements, mongages. deeds of truat, security deeds, collateral mortgages, and aU other Instruments,
   egreaments end documents, whether now or hereafter existing, executed in connection with the l n d - s.
GRAHTOR HAS READ AND UNDERSTOOD AU THE PROVISIONS OF THIS COMMERCIAL SECURITY AGREEMENT AND AGREES TO rTS
TERMS. THIS AGREEMENT IS DATED SEPTEMBER 2, 2020.
THIS AGREEMENT IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS AGREEMENT IS AND SHAll CONSTrTUTE AND HAVE THE
EFFECT OF A SEA1.EO INSTRUMENT ACCORDING TO LAW.

GRANTOR:
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                        Exhibit “E”
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                        Exhibit “F”
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                            JONES        & WALDEN, LLC
                                       ATTORNEYS AT LAW


                                 699 PIEDMONT AVENUE        NE
                                  ATLANTA, GEORGIA 30308
                                   TELEPHONE (404) 564-9300

                                   FACSIMILE (404) 564-9301

                                     WWW.JONESWALDEN.COM




                                          July 9, 2021

 Via Federal Express                                     Via Federal Express
 Via First Class Mail                                    Via First Class Mail
 Atlanta Light Bulbs, Inc.                               Jessica Mendoza
 Attn: Jessica Mendoza                                   411 0 Blue Iris Hollow
 2109 Mountain Industrial Blvd                           Peachtree Comers, GA 30092
 Tucker, GA 30084

 Via Federal Express                                     Via Federal Express
 Via First Class Mail                                    Via First Class Mail
 Jessica Mendoza                                         Jesse Root
 2 Sun Court, Suite 460                                  2552 White Oak Drive
 Peachtree Comers, GA 3 0092                             Decatur, GA 30032

  Re:   Lender: Tandem Bank
        Borrower: Atlanta Light Bulbs, Inc.
        Guarantors: Jessica Mendoza & Jesse Root
        (Borrower & Guarantors are collectively referred to herein as "Obligors")

 Obligors:

         This firm represents Tandem Bank (the "Lender"). On September 2, 2020, Borrower
 executed and delivered to Lender that certain Promissory Note (the "Note") evidencing a revolving
 line of credit in the maximum principal amount of $600,000.00. Also on September 2, 2020,
 Borrower executed and delivered to Lender a "Business Loan Agreement" (the "Loan
 Agreement"). Also on September 2, 2020, Jessica Mendoza ("Mendoza") executed and delivered
 to Lender a "Commercial Guaranty" (the "Mendoza Guaranty"). Also on September 2, 2020,
 Jesse Root ("Root") executed and delivered to Lender a "Commercial Guaranty" (the "Root
 Guaranty") (the Mendoza Guaranty and the Root Guaranty are collectively referred to herein as
 the "Guaranty Agreements"). On September 2, 2020, Borrower executed and delivered to Lender
 that certain "Commercial Security Agreement" (the "Security Agreement"), whereby Borrower
 granted Lender a security interest in all inventory, equipment, and fixtures of Borrower, as more
 particularly described in such Security Agreement. On September 14, 2020, a UCC was filed in
 the UCC records ofthe Clerk of Superior Court ofDekalb County, Georgia, as File No. 044-2020-
 004114 (the "UCC"), evidencing Lender's lien on all inventory, equipment, and fixtures of
 Borrower, as more particularly described in such UCC. The Note, Loan Agreement, Guaranty
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 Agreements, the Security Agreements, the UCC, and any and all other documents or instruments
 relating to the same are hereinafter referred to as the "Loan Documents").

         Obligors are in default under the terms of the Loan Documents for failure to provide certain
 financial statements, including accounts receivable aging, borrowing base certificates, annual
 statements, interim statements and tax returns (collectively, the "Financial Documents"), as
 requested by Lender, and as required under the Loan Documents. Borrower has 10 days from the
 receipt ofthis letter to provide Lender with such Financial Documents. Lender will require strict
 compliance with all terms, provisions, covenants, conditions, and obligations under the Loan
 Documents.

         Lender expressly reserves the right to exercise any and all remedies available to Lender
 under the Debt Documents, at law or in equity, at such time or times as Lender from time to time
 may elect. Any failure by Lender to assert or set forth the occurrence of any other default or Event
 of Default which may have occurred shall not be deemed to be a waiver, release or estoppel of
 such other default or Event of Default. Lender hereby expressly reserves the right to declare any
 such other default or Event of Default and to take such other action as Lender may be entitled to
 under applicable law. No delay on the part of Lender in exercising any right or remedy or failure
 to exercise the same shall operate as a waiver in whole or in part of any right or remedy. No notice
 to or demand on Obligors shall be deemed to be a waiver ofthe obligations of Obligors or of the
 right of Lender to take further action without notice or demand. This letter is written with a full
 reservation of any and all of Lender's rights.

 PLEASE GOVERN YOURSELF ACCORlDNGL Y.

                                          Sincerely,


                                           ~p~
                                          Leslie Pineyro, Attorney for Tandem Bank

 cc:     Michael Keller, Tandem Bank
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                        Exhibit “G”
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                        Exhibit “H”
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                                         Tandem Bank

    August 19, 2021

    Atlanta Light Bulbs, Inc.
    Attn: Jessica Mendoza
    2109 Mountain Industrial Blvd
    Tucker, GA 30084


    Re:    Lender: Tandem Bank
           Borrower: Atlanta Light Bulbs, Inc.
           Guarantors: Jessica Mendoza & Jesse Root
           (Borrower & Guarantors are collectively referred to herein as "Obligors")

   Obligors:

           On September 2, 2020, Borrower executed and delivered to Lender that certain Promissory
   Note (the "Note") evidencing a revolving line of credit in the maximum principal amount of
   $600,000.00. Also on September 2, 2020, Borrower executed and delivered to Lender a "Business
   Loan Agreement" (the "Loan Agreement"). Also on September 2, 2020, Jessica Mendoza
   ("Mendoza") executed and delivered to Lender a "Commercial Guaranty" (the "Mendoza Guaranty").
   Also on September 2, 2020, Jesse Root (" Root") executed and delivered to Lender a "Commercial
   Guaranty" (the "Root Guaranty") (the Mendoza Guaranty and the Root Guaranty are collectively
   referred to herein as the "Guaranty Agreements"). On September 2, 2020, Borrower executed and
   delivered to Lender that certain "Commercial Security Agreement" (the "Security Agreement"),
   whereby Borrower granted Lender a security interest in all inventory, equipment, and fixtures of
   Borrower, as more particularly described in such Security Agreement. On September 14, 2020, a
   UCC was filed in the UCC records of the Clerk of Superior Court of Dekalb County, Georgia, as File
   No. 044-2020-004114 (the "UCC"), evidencing Lender's lien on all inventory, equipment, and fixtures
   of Borrower, as more particularly described in such UCC. The Note, Loan Agreement, Guaranty
   Agreements, the Security Agreements, the UCC, and any and all other documents or instruments
   relating to the same are hereinafter referred to as the "Loan Documents").

           Due to an uncured default, the Loan was previously accelerated and the full balance of the
   indebtedness, including all costs, fees, attorney fees and interest, remains due in full and outstanding.
   Obligors acknowledge the Loan was properly accelerated pursuant to the Loan Documents and
   Lender properly exercised its rights to freeze Borrower's account(s) with Lender. Obligors waive and
   forever release any and all claims against Lender (and its agents) related to Lender's acceleration of
   the Loan or freezing of Borrower's accounts with Lender.




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             Due to negotiations between Bo rrower and Lender. wh1ch are contmUing.             has aqreed
     to unlock Borrower's depos1t accounts and not setoff Borrower's balances at th1S time    pan Obligors'
     execution of th1s Agreement. 11 is further agreed lhat Lender reserves any <md all ngh    nd remedtes
     related to the ac:celerat1on or the Loan and th1s one- time accommodation shall not        nd is not a
     waiver agreement to forbear or other accommodation except as set forth herein.

     Smcerely,


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     By      '    }1 -
            hartes M DeWitt, CEO
                                 ---
     Acknowledged by:




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                        Exhibit “I”
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